NET Pay

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November 13, 2019

Gore Sie fi

US Bankruptcy Case 19-42329

RE: Objection to relief of stay 4 4

| request debtor protection from the court, and an investigation to the amounts actually owed
due to time barred debt collection (Edmundson), auction price only reflecting amount owed to

bank pre-filing (Klem vs QLS} and charges not allowed due to home retention (Jordan v
Nationstar).

Git UNDOUL EMGM DEST

Paperwork and documents filed with this objection reflect the change of principal! balance and
last payment date made by CHASE June 2018. | seek clarification to the charges “disallowed”
but not specified making charges in the Corporate Advance Account unable to be reconciled.

The amount represented in value on my filed schedules for home values was taken from the
Auction.com/Zillow.com real estate posting stating my home auctioning with an opening bid of
what was owed on the property, had a resale value of the declared value amount in my
schedules. | took this from the auction site QLS retained, it was their information. Now they are
stating the property at 1627 6* Ave SW Puyallup WA 98371 is only valued at $285,000.

For over a year now, since March 2018, | have been asking CHASE and QLS to provide me with
clarification of debts written off. | was informed it looked as though CHASE who did not have to,
was writing off some charges which MAY be time barred. Per Edmundson, the payments, fees,
and other charges not collected on within six years of their individual occurrence, may weil be
time barred and | ask for consideration prior to selling my home at the current purported
amount due, and a reasonable look at what is actually due after all time barred and disaliowed
(Jordan v Nationstar) debt are eradicated.

2003-2008 saw me in a Chapter 13. Trustee Howe's office kept in communication with me.
Brandi Butler confirmed two payments | made to the court were not applied by then
Washington Mutual. That led to legal action from the legal representatives for Washington
Mutual for a relief of stay. It was denied. | ask for verification those legat charges are removed
from my loan balance due.

lask for verification interest on removed, to be removed, or disallowed charges also be provided
as not a part of my principal balance due or other fees due.

My principal balance has changed from all previous foreclosure filings without explanation from
CHASE or OLS. NWTS who is now in receivership, and was a part or RCO (Routh Crabtree Olsen}
was found to have illegally foreclosed an US Veterans by the DOJ. | ask any NWTS fees and:
charges also be reviewed for collection on my mortgage.

| ask for the opportunity to either have the opportunity to pay off the debt with a private loan,
or sell the home myself. | have never been adverse to selling the home as i need the equity to

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 1 of 59
survive at this point in my life, it is the only asset | truly have after assisting my mother with
eight strokes wha lost her home to foreclosure via NWTS in 2015. | also have epilepsy myself
and the stress, and the lack of work due to trying to keep a home and not being able to find a
job with the uncertainty of my living situation, my mother’s health, and now needing to
represent myself, has created a chaotic vicious circle. | need closure, but with as much equity in
pocket as possible, and not eaten by realtor fees or other administrative costs.

Trustee Budsberg has asked to continue the hearing. If he needs thirty days to assess the fees on
the mortgage payoff, lam amenable to a continuation. Otherwise, please simply stop the stay,
and disallow a sale by Trustee Budsberg until a payoff balance is arrived at and an opportunity
to provide payoff via private loan is allowed to me, Ericka A. Michal

| have been told by Lynda Carpenter, Trustee Budsberg’s administrative assistant never to call
her office again as she would only speak to an attorney if | have one, not to me. | am Pro Se and
simply need to know procedural answers such as “may | sell my Chevy Impala now” or “can you
provide me the procedure to payoff my loan via the Trustee”.

{ only ever sought protection. | never thought my equity may be seen as a coin purse with a hole
in it awaiting the first fee to claim it. Please assist me in retaining my equity. It is crucial to my
future survival.

 

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 2 of 59
141 3/2019 1942329 Michal, Ericka 1627 6th Ave SW Puyallup - cheerfule@gmail.cam - Gmail

1942329 Michal, Ericka 1627 6th Ave SW Puyallup —_ntox

Kai Rainey <kai@ssapprovals.com> Fri, Sep 13, 9:
to ma, Admin, Jason

 

Ms. Michal,

“ lam the Sroker the trustee has court appainted to work with you to sell the property referenced above, My team works galaly with bankruptcy trustees, and we have sold aver 560
years. lt's my understanding you may have some additional claims against one or more of the lending institutions Involved with your mortgage, and I'll try to be as helpful to you as f
Since we are up against a bit of a clock, what's the soonest you can be prepared for a professional photo shoot of the home? My marketing partner, Jason Ferrando, is copied on tr

one to install the keybox and deal with any interested buyers who contact us directly. Jason's direct line is 425-319-1771.
After we've viewed it, we will be able fo get @ better idea about the value. I'll work with you to get the highest price possible for your property, Feel frea ta lat me know if you have an

Kai Rainey, Managing Broker

Please copy Admin@ssapprovals,com) on all transaction correspondence for fastast response.

 

RE/MAX Eastside Brokers

Team Manager: Kai Rainey, CDPE / Email: kai@ssapnrayals,com (206) 681-9670
General Phone: (206) 681-9670 || Fax: (206) 200-3131

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41/13/2019 Mail - E M - Outlook

The two missing payments were after you filed, so WAMU needs to find
these payments and apply them to your account as a regular monthly
mortgage payment, therefore leaves arrears as is.

The calculation provided to me (attached) shows all payments received
and applied with the exception of the two payments of $1536.00 (3072.00
total}; so WAMU just needs to apply these payments and your loan will be
correct, including the principal amount owed.

Maybe the attached will help. | have underlined all the correct payments
up to the date the two payments were not applied.

Brandi Butler

Office of David M. Howe
Chapter 13 Trustee, Tacoma
1551 Broadway Ste 600
Tacoma WA 98402

Phone: 253-572-6600 ext 108
Fax: 253-627-2978

*Please note new email address for pre 341 meeting documenis:
ecfcomputer@chapter13tacama.org aiso;

* Tracy can be reached at tbecker@chapter13tacoma.org and via phone @

253-320-9258

From: ERICKA MICHAL [mailto:cheerfule@msn.com]
Sent: Tuesday, October 09, 2007 1:38 PM

To: Brandi Butler

Subject: Re: WAMU

Thank you for the information. | guess then, my question would need to
be if WAMU has been claiming all along that these missing payments were
due, and tacked on extra to arrearages that currently show as due, or

did you (the Trustee's office} always figure them into the paid status,

and it leaves the arrearages unchanged per your calculations, and has
nothing to do with WAMU?

Ericka

----- Original Message -----

From: Brandi Butler <mailto:bbutler@chapter13tacoma.org>
To: ERICKA MICHAL <mailto:cheerfule@msn.com>

Sent: Tuesday, October 09, 2007 12:53 PM

Subject: RE: WAMU

hitps:/foutlook SiGe eRCIARALAW ATozZ uC TaA linn ER ech RKacRhnivbldeNdarbenee2 RAFA ear %2B6... 1/4
11/43/2019 Mail - E M - Outiook *

The two missing payments are from 11/12/04 - 02/11/05; WAMU
shows

receipt of 2 payments however our office has disbursed 4
payments in the

amount of 1536.00 and this would have been applied to the post
filing

debt; not the prior to filing arrears; therefore it will not be
applied

to your arrears.

Yes we have received your payment of $2400.00; it was received
on 10/05,

Brandi Butler

Office of David M. Howe
Chapter 13 Trustee, Tacoma
1551 Broadway Ste 600
Tacoma WA 98402

Phone: 253-572-6600 ext 108
Fax: 253-627-2978

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* Tracy can be reached at tbecker@chapter13tacoma.org and via
phone @
253-320-9258

From: ERICKA MICHAL [mailto:cheerfule@msn.com]
Sent: Tuesday, October 09, 2007 12:33 PM

To: Brandi Butler

Subject: Re: WAMU

Thank you for your research. Are the two payments of $1536 from
a while back? Will that lower the amount of arrears debt owed,
ar is
the amount on the arrears debt the Trustee's office number, or
WAMU's .
number?

You did also receive my recent payment of $2400, correct?
Ericka

----- Original Message -----
From: Brandi Butler <mailto:bbutler@chapter13tacoma.org>

To: ERICKA MICHAL <mailto:cheerfule@msn. >
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19/13/2019 Mail - E M - Ouilook

Sent: Tuesday, October 09, 2007 12:27 PM
Subject: WAMU

Hello Ericka,

| received the payment ledger from WAMU and found that they are
missing two payments of $1536.00, therefore | have sent an email

back to

Kristin who works for WAMU's attorneys and she will get me
updated

information after her & WAMU review our payment disbursements
again.

Besides the missing payments everything else looks right.

Also, after reading your original email dated 9/6/07, the

payment of $2400.00 that you are referring to came to our office
as a

plan payment. The entire $2400.00 is not sent directly to your
mortgage

company as our office always keeps 15.00 on hand, plus the
Trustee takes

out a percentage for disbursing monthly therefore when you remit

$2400.00 to our office only $2284 (aprox.} is disbursed monthly.
Also

regarding your conversation with Benita in the bankruptcy dept.;
Benita —

is correct in that WAMU does not split pre & post debt owing.
Our

office splits the claim, not WAMU as they do not have the
capability to

do this. Sorry about that confusion as | caused that.

Any questions, email me; otherwise | will send you the updated

information as soon as | receive it. One month later we're
almost

there!! :-)

Brandi Suter

Office of David M. Howe

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11/13/2019 Mail - E M - Outlook "
Chapter 13 Trustee, Tacoma

1551 Broadway Ste 600
Tacoma WA 98402
Phone: 253-572-6600 ext 108

Fax: 253-627-2978

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* Tracy can be reached at thecker@chapter13tacoma.org

<mailto:tbecker@chapterl3tacoma.org> and via phone @
253-320-9258

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Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 8 of 59
vase (Mail Code OH4-7144)
2D. Box 183216
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September 26, 2017 7 | {

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015956 - 1 of 4 NSPOGMGCE-Z1 V540397. eDoo20N0000 8 U 4 eG ee : (}
ERICKA MICHAL a A, AS
1627 6TH AVE SW he c |
PUYALLUP, WA 98371

We've enclosed a check for your mortgage loan ow

 

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Swe ys

 

Account Ending In: 2583
Property Address: 1627 6th Ave Sw
Puyallup, WA 98371

Dear Ericka Michal:

We found that we may have made an error that could have extended the document collection penod

during our review of your application for mortgage assistance. We've enclosed a check for $100 as
compensation.

Year-end tax information: We'll send you Form 1099-MISC (Miscellaneous Income) or Form
1042-S (Foreign Person’s U.S. Source Income Subject to Withholding) for tax year 2017, if required

by the IRS. If you have questions about how this affects your tax retum, please contact your tax
advisor,

We sincerely apologize for not providing you with the level of service you expect from us.

This fetter is for your information only—no action is required on your part. If your account is in
active foreclosure or foreclosure was previously completed on your account, this letter does not in
any way change that, or affect the status of the foreclosure.

If you have questions, please call us at one of the numbers below Monday through Friday fram 8
a.m. to midnight and Saturday from 8 a.m. to 8 p.m. Easter Time.

Sincerely,

Ven Fracbo

Steve Brooks
Executive Director
1-800-848-9136
1-800-582-0542 TTY

Case 19-42329-BDL Doc44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 9 of 59

 

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Esta comunicacion contiene informacion importante acerca de la cuenta. Si tieneRigidalpt-Guded d
necesita ayuda para traducirla, comuniquese con nosotros llamando al 1-855-280-4198.

Enclosed:
- Check
- Mortgage Assistance Offer Letter

With respect to the enclosed compensation check, you must comply with your duties under applicable
law, including duties as a debtor or former debtor in a bankruptcy case.

important Legal Information

information about bankruptcy filings

To the extent your original obligation was discharged or is subject to an automatic stay of bankruptcy
under Title 14 of the United States Code, this notice is for compliance with non-bankruptcy law and/or
informational purposes only and does not constitute an attempt to collect a debt or to impose

personal liability for such obligation. Nothing in this letter (including our use of the words “your,”
“loan,” “mortgage,” or “account’) means that you're required to repay a debt that’s been discharged.
Any payment you make on the account is voluntary, but we may still have rights under the security
instrument, including the right to foreclose on the property.

\f you are represented by an attorney, please refer this letter to your attorney and provide us with the
attorney's name, address, and telephone number.

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Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 10 of 59
. Glendale, CO 80246

Chase
710 South Ash Street, Suite 200

 

September 26, 2017

ERICKA MICHAL
1627 6TH AVE SW
PUYALLUP, WA 98371

You requested mortgage assistance in the past and are invited to re-apply if you still need
heip

Account Ending In: 2583
Property Address: 1627 6th Ave Sw
Puyallup, WA 98371

Dear Ericka Michal:

We’re the servicer of your mortgage and we’re here and ready to help you find a mortgage
assistance solution

If you're having trouble making your mortgage payments, we're here to help you find a morigage
assistance solution. The sooner you send us your documents, the more quickly we can find out if
you're eligible for one of the mortgage assistance options explained in this letter.

You have dedicated support to help you through the mortgage assistance process

If you aren't already working with a Relationship Manager, we'll assign one to your loan. He or she
will be dedicated to helping you with whatever you need as we work together to find the best option
for you. Your Relationship Manager and his or her teammates will also provide updates and remind
you about important deadlines. You can call your Relationship Manager or his or her teammates if
you have questions about your options or about the forms and documents we've requested.

Please continue to make your monthly mortgage payments by your due date while we're reviewing
your request for assistance. If you have other mortgage loans or liens that we don’t service, you
should contact that servicer to find out if you're eligible for assistance for those accounts.

If your Joan is past due, your request for mortgage assistance may not stop the foreclosure
process or sale. Do not ignore any notices you receive.

\f you qualify for assistance, no foreclosure sale will take place as long as you follow the
requirements of the assistance program. In addition, if you qualify for assistance and have not
been referred to foreclosure, we will not refer you to foreclosure.

Page 4 WE S44

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 11 of 59

 

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There are no fees as part of any of these programs.

Modification

Overview: A modification is a change to the terms of your mortgage loan and may lower the
monthly payment amount or interest rate. If you're approved, you'll no longer be eligible to
receive any incentives you may have qualified for as part of an earlier HAMP modification,
even if you don't receive a final modification.

Benefit: This option permanently changes the mortgage loan and may make your payments
or terms of the ioan more affordable.

Reinstatement
Overview: Pay the total amount owed in one lump sum payment by a Specific date. This may
follow a forbearance plan, which is described below.

Benefit: Allows you to avoid foreclosure by bringing the mortgage loan up to date if you can
show that you'll have enough funds available by a specific date.

Repayment Plan

Overview: Caich up on payments by adding a portion of them to your regular payments over
an extended period of time. This means your monthly payments will be higher than normal as
part of a repayment plan. You may be required to make an initial down payment {or

contribution) to get started. Benefit: Allows you time to catch up on payments over a specific
period of time.

Forbearance Plan

Overview: Make reduced mortgage payments or stop making payments for a specific period of
time.

Benefit: Allows you time to improve your financial situation.

Federai Housing Administration (FHA)-Home Affordable Modification Program Partial
Claim (available only on FHA-insured loans)

Overview: Advances a portion of the Federal Housing Administration's insurance policy on
your loan to bring it up to date.

Benefit: Brings your loan up to date by creating an interest-free subordinate mortgage/ien on —

your property for the amount of the advance. You won't have to repay it until you pay off your
loan or sell the home.

Short Sale

Overview: Sell the property for less than the balance remaining on your mortgage. You may
be required to make a cash contribution and/or execute a promissory note if you're eligible for
and accept this option. -

Benefit: Allows you to move out of the property and avoid foreclosure. In some cases,
relocation assistance may be available.

Deed-in-Lieu of Foreclosure
Overview: Transfer the awnership of the property to us. You may be required to make a cash
contribution and/or execute a promissory note if you're eligibie for and accept this option.

Benefit: Allows you to move out of the property and avoid foreclosure. In some cases,
relocation assistance may be available.

Page 3 WES44

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 12 of 59

 

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lf you have questions, please call us ai one of the numbers below Monday throu i
a.m. to 10 p.m. Eastern Time. RIKY oes 5 6

Sincerely,

Chase
1-855-217-8965
1-800-582-0542 TTY

Esta comunicacién contiene informacion importante acerca de la cuenta. Si tiene alguna pregunta o
necesita ayuda para traducirla, comuniquese con nosotros llamando 1-855-217-8966, de lunes a
viemes de 8 a.m. a 10 p.m., hora del Esie.

important Legal Information

Information about bankruptcy filings

To the extent your original obligation was discharged or is subject to an automatic stay of
bankruptcy under Title 11 of the United States Code, this notice is for compliance with
non-bankruptcy law and/or informational purposes only and does not constitute an attempt to collect
a debt or to impose personal liability for such obligation. Nothing in this letter (including our use of
the words “your,” “loan,” “mortgage,” or “account’) means that you're required to repay a debt that’s
been discharged. Any payment you make on the account is voluntary, but we may still have rights
under the security instrument, including the right to foreclose on the property.

if you are represented by an attorney, please refer this letter to your attomey and provide us with
the attorney's name, address, and telephone number.

Here's where to look for more help

You can call or visit the website of the U.S. Department of Housing and Urban Development or U.S.
Department of the Treasury-sponsored HOPE Hotline Number to get free assistance from a
Housing and Urban Development approved nonprofit counselor or in understanding this letter.

U.S. Department of Housing and Urban
Development Telephone Number: 1-800-569-4287

Website: hud.gov/offices/hsq/sth/hce/fe/
HOPE NOW

Telephone Number:  1-888-995-HOPE (1-888-995-4673)
Website: HopeNow.com

Information for Servicemembers and their dependents

lf you or any occupant of your home are or recently were on active Military duty or related active
service, you may be eligible for benefits and protections under the federal Servicemembers Civil
Relief Act (SCRA), state law, or Chase policy. This includes protection from foreclosure or eviction,
and in some cases, interest rate benefits. Some protections also may be available if you are the
dependent of an eligible Servicemember. Although Servicemember interest rate benefits under the

Servicemembers Civil Retief Act don’t allow you to defer payments, California law allows for a
six-month deferral if certain conditions are met.

For more information, please call Chase Military Services at 1-877-469-0110.

times JPMorgan Chase Bank, N.A. @2017 JPMorgan Chase & Co.

Page 4 WF S44

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 13 of 59
as chase.com
CHAS EG fs

 

 

 

 

 

 

a Customer Service 1-800-846-9380
we includes 24/7 Automated Response
“sm 6 Monday - Thursday 8 am. - midnight (ET)
Friday @am,- 10 pm. (ET)
Saturday fam.-Spm. (ED
Hearing Impaired Service (TTY) 1-800-582-0542
agannglffelengefeg gf EPERUCfeaftpa€ypaghyag pflagUEffaly ely att tyy
MWD Z08718G- BRE TI
ERICKA A MICHAL Mortgage Loan Statement
1627 6TH AVE SW
PUYALLUP WA 98971-8627 Loan Number 0012492585
Statement Date 03/08/2018
Property Address 1627 6th Ave SW
Puyallup, WA 98371
Total Amount . $1,133.51
Explanation of Payment Amount :
Principal $223.18
Interest $526.37
. 26
Loan Overview (as of 03/08/2018) Escrow Payment (Taxes and/or Insurance} $283.
Monthly Payment $1,133.51
Original Principal Balance $113,044.00 / , 7
Unpaid Principal Balance <= $190,070.92 ~~~} Lt yok GY
Capitalized Interest Balance $11,438.44
Interast Rate §.60000%
Escrow Balance ($27 827.67) lé |
Unapplied Balance $16.40
Corporate Advance Balance $11,646.77

Your Unpald Principal Balance ls act a payot quote. Lear more about the payatt process by calling the

phone number at tha top of this statement. / 9 9 lp
'

Past Payments Breakdown | L j

Paid Since Last Statement Pald Year-to-Date

 

 

Principal $0.00 $0.00
Interest $0.00 $0.00
Wnappled Funde $0.00 $16.40
Total $0.00 $16,40

Transaction Activity Since Your Last Statement (Includes Fees/Charges)

 

 

 

 

 

Transaction Description Total Received Prnolpal Interest Escrow Faas Unapplied
Data Funds
02/13/2018 INSPECTION COSTS $15.00

on02/2018 MORTGAGE INSURANCE PAID $26.74

Os/07/2018 FORECLOSURE ATTORNEY GOST $260,00

Important Messages

 

The Corporate Advance Balance may include expenses for inspections, home valuations, legal faes, property maintenance and other costs. It is listed
under the Loan Overview section.

Please refer te the bankruptcy information in this statement for more information relating to your case.

Your 2017 IRS Form 1098 (Mortgage Interest Statement) is available, if applicable, at chase.con/TaxStatement, Most accounts can be viewed
online.

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 14 of 59

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Chase

6716 Grade Lane
Building 9, Suite 910

Attn: P.O. Box 9001871
Louisville, KY 40213-1407

You have the right to dispute the accuracy of the credit information reported
by writing fo us ai the Customer Service Inquiries address listed above. We
may report information about your account to credit bureaus. Late payments,
missed payments, or other defaults on your account may be reflected in your
credit report.

Payment Information
There are multiple ways you can make your monihty payment:

« Automatic payments - Sign up for automatic paymenis at
chase.con/BillPay so you won't have to worry about making your
mortgage payments on time.

* Chase Mobiie™ app - Make your mortgage payment directly from your
smartphone. Visit chase.com/moebile to download the Chase Mobile app.
Message and data rates may apply.

*  Ghase Online” Sill Pay- Log in to chase.com to schedule a payment
with no service charge.

* Pay by phone - Call 1-800-848-9380 to use our free automated service
and authorize a one-time deduction from your bank account.

« By mail or in person - Mail your payment or stop by any Chase branch.

Remember to include the payment coupon fram your siatermnent.

If you do net make your motigage payment on fime or request services fram
Chase, you may be charged fees. Those fees may include those shown in
your loan documents, provided by law, or related to the services provided.
The fee structure may change without notice except where prohibited by law.
Chase commonly imposes an Insufficient Funds Fee of $25.00, Other fess
may be charged for services provided. Fees may not be applicable to certain
products and may be limited by law.

Loan Payoff Information

The Unpaid Principal Balance on your statement is not a payoff quote. Payoff
quotes are available by logging inte your account on chasa.com,

You can also request a quote anytime through our 24-hour

automated phone service by calling 1-877-505-2804,

important Bankruptcy information

if you or your account is subject to pending bankruptcy proceedings, or if you
received a bankruptcy discharge, this statement is for informational purposes
only and is not an attempt to collect a debt.

tevcen JPMorgan Chase Bank, N.A. Member FDIC, ©2016 JPMorgan Chase & Co,

Important Mortgage Insurance Information (MIP)

If your FHA loan was originated on or after January 1, 2001, and has an
FHA Case Number Assignment Date BEFORE June 3, 2043, you may
be eligible for the waiver of your mostgage insurance premiurn (MIP)
when the loan-to-value (LTV = loan amountvalue of collateral) ratio
reaches 78 percent of the original value, based on your original
amortization schedule of the loan.

Homeowner Assistance

You can call the U.S. Department of Housing and Urban Development at
4-800-569-4287, the U.S, Department of the Treasury sponsored HOPE
Hoifine number at 1-8B8-995-HOPE (1-888-995-4675) to get free
assistance, or visit HopeNow.com. You can also find a nonprofit
HUD-approved counselor who can provide the information and
assistance you may need to avoid foreclosure by using the search tool
at hud.gov/offices/nsg/sihv/hecfic/. These Hud-approved housing
counseling agencies found on HUD.gov can also help you with your
household budgeting at no charge.

Crediting of Payments

Payments will be credited as of the day we receive them if the payment
is received by 5:00 p.m. in the time zone in which the mailing address on
your payment coupon is located and if (a) the payment is received
Monday through Saturday except for legal holidays, (b) the payment is
received at the address shown on your payment coupon, {c) your
payment is made with a check or money order drawn on a U.S. bank in
U.S. dollars, (d)} the attached payment coupon is enclosed with your
payment, and {e) your payment is sent in the enclosed return envelope.
Credit for payments made in any other manner may be delayed for up to
five (5) business days. Please allow five to seven (5-7) days for
payments to reach the payment address. Please do not send cash
through the mail. Please include your account number and name on the
front of your check or money order. Do not staple, tape or paper clip
your payment to your payment coupon. if you want to change how we
applied your payment to your mortgage lean, we must receive your
request within 60 days of the payment date.

AUTHORIZATION TO CONVERT YOUR CHECK TO AN
ELECTRONIC TRANSFER DEBIT: When you provide a check as
payment, you authorize us either to use information from your check to
make a one-time electronic fund transfer from your account or to
process the payment as a check. Your bank account may be debited as
soon as the same day we receive your payments. You may not receive
your check back from your institution.

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 15 of 59
LAASE &

ERICKA A MICHAL
1627 6TH AVE SW
PUYALLUP WA 98871-5627

Bankruptcy Information

 

Loan Number 0012492583
Statement Date 03/08/2018
Property Address 1627 6th Ave SW

Puyallup, WA 98371

ACCOUNT STATEMENT IS FOR INFORMATIONAL PURPOSES ONLY

Account Information

Year-To-Date Payments

 

Bankruptcy Chapter, = 7

Contractual Due Date (Fer Informational Purposes Only) 06/01/2011
Interest Rate 6.60000%
Late Charge Fee (per month) $29.98
Original Maturity Date O4/2040
Current Principal Balance® $130,070.92
Current Eacrow Balance ($27,327.67)

 

‘This is your Principal Balance only, not the amount required to pay your
loan In full.

Important Messages

 

 

Principat $0.00
Interest $0.00
Unapplied Funds $16.40
Total $16.40
Contact Information

Bankruptcy Customer Service: 1-800-842-9380

Send correspondence only to:

Chase Racerds Center

Attn: Correspondence Mail
Mail Code LA4-5555

700 Kansas Lane

Monroe, LA 71203

Send overnight payments only to:
Chase

$415 Vision Drive

Mail Code OH4-71433

Columbus, OH 43219

To the extent your original obligation was discharged or is subject to an automatic stay of bankruptey under Title 11 of the United States Coca, thia
statement is for compliance and/or informational purposes only and does net constitule an attempt to collect 4 debt or to impose personal Habllity for such
obligation. However, a secured parly retains rights under its security instrument, Including the right te foreclose its lian.

If you do not wish to receive this monthly Information Staternent in the future, or if you have any questions regarding this martgage/dead of trust account,

please call 1-600-848-9360,

¥ Please detach and sefurn the bottom portion of this statement with your payment using the enclosed envelope. ¥

OO80002e4925835 333000 00133351 002326349 00113351 OOOOk
Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 16 of 59

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ANNAN 1294 tonane TH... 9 .F9
Has your mailing address or phone number changed?

iso, please update your Informauon online at chase.com, Where you Can aso View your tacent account aolviy, Allernaivery, you May check ihe box on ie font of tis
payment coupon arid fill in the corset information below.

When you give ws your mobile phone number. we have your permission to contact you at that number about all yout Chase or J.P. Morgan accounts. Your consent allows
us to use text messaging, artificial or prerecorded voice messages and automatic dialing technology for itiformational and account service calls, but not for telemarketing or

sales calls. It may include contact from companies working on our behalf te service your aecounts. Message and data rates may apply. You may contact us anytime to
change these preferences.

 

 

 

 

 

 

 

( }

Customer Name Customer Cell Phone
( }

Customer Naine Customer Cell Phone
( }

Street Address Home Phone
( }

Street Address Business Prone

Gily + Stata Zp

 

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UriASTK. wy

Mail Gode OH4-7399
PO BOX 182613
Columbus, OW 43218

4a330 MWD Zezo1gC- BRE
ERICKA A MICHAL

1627 6TH AVE SW
PUYALLUP WA 98371-5627

Statement date 08/08/2019
Next payment Next payment

date amount
69/01/2019 $92,381.68

We are providing more details for custorners who have filed for bankruptey, including those discharged of personal liability, We may also show if
someone with interest in the property has filed bankruptcy.

 

Mortgage information Past payments breakdown
Aecount number 0012492583 Paid since Paid
Property address 1627 6th Ave SW last statement = year-to-date

Puyallup, WA 98371 Principal $0.00 $0.00

Original principal balance $113,044.00 Interest $0.00 $0.00
Unpaid principal balance’ $127,199.64 Total unapplied

Capitalized interest balance = $11,483.41 ones : soe oa
Maturity date 04/2040 \ od ; (7
Interest rate 5.50000% lowe A y / i? / / “4
Escrow balance ($29,240.00) ar
Unapplied funds $16.40 ¥ nA
Corporate advance balance $14,938,758 \ea oo SI
Bankruptcy status: 7 ACTIVE

Resources

Call customer service
Monday - Friday

&
ts]

1-866-243-5861 (24/7 automated line}
7am.-6 p.m, (CST)

Si tiene algune pregunta o necesita ayuda para traducirla, comuniquese can
nosotres llamando al 1-965-260-4198 o visita www. chase.com/Statement

Exptanation of payment amount

 

 

Principal $241.22
interest $508.33
_Esorow $337.21
Reguiar monthly payment $1,086.76
Prior fees/charges $0.00
New fees/charges $0.00
Total unpaid as of 08/08/2019 $91,294.92
Total payment amount $92,351.68

PAL % = $S5C6H pat

Important bankruptcy and account Information

Our records show that you are currently a debtor in bankruptcy, or were one In the past for which your personal llablilty tor the mortgage
loan was discharged. if neither of those are true, there may be someone with an interest in the property who has filed for bankruptcy. We
are sending this statement to you for informational purposes only,

To the extent your original obligation was discharged or ls subject to an automatic stay of bankruptey under Title 11 of the United States Codg, this
statement is for compliance and/or informational purposes only and does not constitute an attempt to collect 4 debt or to impose personal ilabllity for

such obligation.

More Important Messages on inside pages.

Please note; This statement is not a request for payment, 1 Is for Informational purposes only.
However, Hf you elect to make a payment, you may uae the coupon below,

¥

00000124925835 333000 OO108b7b 00111674 001046675 O0000

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 18 of 59

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RARARAA Baad Aan oe
iransaction activity

Transaction Description Total received Principal Interest Escrow Fees Unapplied
date funds
O7/15/2019 HOMEOWNERS INSURANCE PAID $889.26
08/02/2019 MORTGAGE INSURANCE PAID $24.91

Contact Information and Disclosures

For ail of our ways to contact us, please visit www.chage.com/Mortgage-Contact-Us

Customer Service Inquiries Designated Address for Notices of =| insurance Palictes & Bills Overnight Payment

Chase Error, Information Requests, and Chasa Chase

Mail Code LA4-6475 Qualified Writter: Requests P.O, Box 100564 8715 Grade Lane

700 Kansas Lane Chase Florence, SC 29502-0564 Building 9, Suite 910

Monroe, LA 71203 Mail Code LA4-6914 Telephone: 1-877-590-8951 Atin: P.O. Box 8001871
700 Kansas Lane Fax: 1-678-475-8799 Louisville, KY 40213-1407
Monroe, LA 71208-4774 www. MyCoverageinfo.com

{use PIN CM156 when prompted)

Account Information Reported to Credit Bureau

We may report information about your Account io credit bureaus. Late payments, missed payments or other defaults on your Account may be
reflected In your credit report. If you think we have reperted Inaccurate Information to a credit bureau, please write to us at Chagas Home Lending,
Mail Code LA4-6945, 700 Kansas Lane, Monroe, LA 71208.

If you do net make your mortgage payment on time or request services fram Chase, you may be charged fees, Those fees may include those shown
in your loan documents, provided by law, or related to the services provided. The fee structure may change without notice except where prohibited by
law. Chase commonty imposes an Insufficient Funds Fee of $25.00. Other fees may be charged for services provided. Fees may not bs applicable to
certain products and may be limited by law.

‘Loan Payott Information

‘Your Unpaid Principal Balance is not a payoff quote. Learn more about the payoff process by calling the phone number in the Resources of this
statement.

Important Bankruptcy Information

if you or your account is subject to pending bankruptcy proceedings, or if you received a bankruptey discharge, this statement is for Informational
purposes only and is not an attempt to collect a debt.

Important Mortgage Insurance Information (MIP)

If your FHA loan was originated on or after January 1, 2001, and has an FHA Case Number Assignment Date BEFORE June 8, 2018, you may be
eligible for the waiver of your mortgage insurance premium (MIP) when the loan-to-value (LTV = lean amountvalue of collateral} ratlo reaches 76
percent of the original value, based on your origina! amortization schedula of tha loan.

Homeowner Assistance

You can call the US, Department of Housing and Urban Development at 1-800-569-4287, or the U.S, Department of tha Treasuty-sponsored HOPE
Hotline number at 1-888-995-HOPE (1-888-995-4673) to get free assistance, or visit www.HopeNow.com You can also find a nonprofit
HUD-approved counselor who can provide the information and assistance you may need to avoid foreclosure by using the search tool at

www hud. gov/offices/hea/sth/hce/cf These HUQ-approved housing counseling agencies found on www.HUD.qov can alse help you with your
household budgeting at no charge.

Automatic payment enrollment form

 

 

 

 

 

 

 

+ Please debit my: $1,086.76 0012492583 Enroll for free automatic Payments by checking the box on
[[] checking Account — [[] Savings Account Amount Due! Mortgage Account Number piibalialien mailing Int ist orm in the envelope provided.
2 Locate your account and routing number on your cheek.
Finanelal Institution Acgount Holder Name joven toe tener nena coer mite nuance .
Tea your srt 1234
Routing Number Account Number Additional Principal per Month (optional) ‘ $ ao
8 Day of the month we should withdraw your payment : EHASED
We'll withdraw your payment on the due date if you leave this blank, | Iie

Please allow 10 business days for setup; continue making your payment until you recelye condirmetion ACH has been setup.

987654921 1234

 

 

  

Signature af Financial Inatitution Account Halder Bate

 

routi checking account check
numbet number nymber
‘

‘By signing sbave you authorize us, any successor eenicar, HUb-dervicer. or ayaignad 10 sloctronically withdraw monthly poyments plus any addiilonal principal you authorize from your personal bank accolint on the date apealfed, ci on thé hext
businese day If that date fala on a not-banking day. Requests tae changes or cancellations must be made J businges days before the payment date. You sutherlze ua to change the emount of your payment es needed Hl thera Ie a Incremee oF
decrease in the payment arouse dua to changes In tha Imefest tate ot oecruny, of for eny other rasgon. Automatic payments may be cancelled (t sutematic. payments are ratumed or if you, a co-borrawer, or anyone figted on tho ie of the proporty that

errs [om fe oe EY: eo Che cal ee SoA SANE LES IS MEN TTITSIIS TS:12-8"" PY. Teor sg ons

2205051065 022099440601 0001 —
Delinquency information
Important notice

You've missed one or more payments and your mortgage loan !s in default. This summary highlights the statue of your account,
your missed payments and how to get help.

We encourage you to call us at 7-800-848-9380 so we can help you apply for options that may allow you to stay in your home, such as a
repayment plan, forbearance plan or loan modification, or otherwise avoid foreclosure through a short sale or deed-in-liau of foreclosure.
You can find more information on our loss mitigation options and application process at www.chase.com

Amount to bring current
As of 08/08/2019, $92,381.68 is required to bring your lean current.

This amount wag calculated on the date referenced above, which means it may change if additional fees are billed aiter this date, Call us
at 1-800-848-9386 fo confit the full payment amount you owe to bring your account up to date.

Summary of most recent missed payments

 

 

 

 

 

Missed payment date Amount remaining unpaid
O8/01/2019 $1,182.97
04/01/2019 $1,182.97
OS/01/2019 $1,182.97
06/01/2019 $1,182.97
07/01/2019 $1,182.97
06/01/2018 $1,086.76

 

 

Other resources

You can call the W.5. Department of Housing and Urban Development at 1-800-589-4287, the U.S. Department of the Treasury
sponsored HOPE Hotline number at 1-888-995-HOPE (1-688-995-4673) to get free assistance, or visit www. HopeNow.com You can
alse find a nonprofit HUD-approved counsefer who can provide the information and assistance you may need to avold foreclosure by
using the search tool at www.bud.gov/offices/hag/sthy/hee/ic/ These HUD-approved housing counseling agencies found on

www HUD.aov can also help you with your household budgeting at no charge.

Equal credit opportunity act notice

The Fedaral Equal Credit Opportunity Act prehibits creditors from discriminating against credit applicants on the basis of race, color,
religion. national origin, sex, marital status, age (provided that the applicant has the capacity to enter into a binding contract}; because all
or part of the applicant's income derives from any public assistance program; or because the appticant has in good faith exercised any
Tight under the Consumer Credit Protection Act. The Federal agency that administers compliance with this law concerning this creditor is
the Bureau of Consumer Financial Protection, 1700 G Street NW, Washington, DC 20006.

important notice to servicemembers and their dependents

If you or any occupant of your home are or recently were on active Military duty or related active service, you may be eligible for benefits
and protections under the federal Servicemembers Civil Relief Act (SCRA), state law, or Chase policy. This inciudes protection from
foreclosure or eviction, and in some cases, interest rate benefits. Some protections also may be available if you are the dependent of an
eligible Servicemember. Although Servicemember interest rate benefits under tha Setvicemembers Civil Relief Act don't allow you to
defer payments, California law allows for a six-month deferral if certain conditions are met.

For more information, please call Chase Military Services at 1-877-469-0110.

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 20 of 59
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Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 21 of 59

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Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 22 of 59

22OSOS1OOL IZ 209 14409G700000000
Chase (Mail Code OH4-7302}

P.O. Box 183222 CHAS E “

Columbus, GH 43218-3222

May 09, 2019

Ericka A. Michal
1627 6th Ave SW
Puyallup, WA 98371-5627

We've enclosed the document(s) yeu requested

Account: 0012492583

Property Address: 1627 6th Ave SW
Puyallup, WA 98371-0000

Dear Ericka A. Michal:

Thank you for contacting us about this mortgage account. We've enclosed the documents you requested.

If you have questions, please call us or visit chase.com. We value our relationship with you and are happy
to help with all your banking needs.

Sincerely,

Steve Brooks
Executive Director
Chase
[-800-848-9136
chase.com

Enclosures

Esta comunicacién contiene informacién importante acerca de la cuenta. Si tiene alguna pregunta o necesita
ayuda para traducirla, comuniquese con nosotros Namando a) 1-855-280-4198.

CR31378
CCi16

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 23 of 59

 
PAYOFF PROCEDURE DISCLOSURE

Thursday, May 09, 2019
ERICKA A MICHAL

1627 6TH AVESW
PUYALLUP, WA 98371-0000

Account Number: 12492583
FHA Case Number: 561-679496 9

This is in reply to your Thursday, May 09, 2019 inquiry/request for payoff figures or offer to tender an amount
io prepay in full your FHA-insured mortgage which this company is servicing.

This notice is to advise you of the procedure which will be followed to accomplish a full prepayment of your
mortgage.

Chase will:

[ | Accept the full prepayment amount whenever it is paid and collect interest only to the date of

that payment

[X] Only accept the prepayment on the first day of any month during the mortgage term; or accept the
prepayrnent whenever tendered with Interest paid to the first day of the month following the date prepayment
is received

{ | Require at least 30 days prior written notice of your intent to prepay the mortgage (for mortgages insured
prior to August 2, 1985). We consider that the 30-day written notice has not yet been complied with. NOTICE
MUST BE IN WRITING

[ | Consider that we have received notice of your intended prepayment and the 30-day notice began to run on
Thursday, May 09, 2019

NOTE: Because your loan provides for the collection of interest through the end of the calendar month in
which your prepayment is received, it is to your advantage to ensure that the prepayment reaches us as close to
the end of the month as possible, but no later than the first work day of the month.

if you have questions regarding this notice, please contact Chase Customer Service at one of the numbers
below.

Sincerely,

Chase
1-800-848-9136
1-800-582-0542 TTY

chase.com

Attachment: Payoff Statement

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 24 of 59
Chase
P.C). Box 183222
Columbus, OH 43218-3233

Thursday, May 09. 2019

ERICKA A MICHAL
1627 6TH AVE SW
PUYALLUP,WA 98371-5627

Here's your payoff quote for your joan
Account:

FHA Case Number:

Property Address:

Dear Mortgagor(s):

12492583

561-679496 9

1627 6TH AVE SW
PUYALLUP,WA 98371-0000

CHASE &

 

 

Payoff
quote generated
3:40:17

 

We've enclosed your free payoff quote and important information about paying aff your mortgage. We're sending you this quote because it was
requested on your behalf. you requested it. or your payoff amount changed.

The total amount due to pay off this loun is $216.587.41, which is good through 05-31-19, If this date fulls on a holiday or a non-working day.
we'll consider the payment on time if made by 6 p.m. Eastern Time the next business day unless a foreclosure sale is scheduled for an earlier time.
Piease see the table below for details about the payoff ammount:

balance
Deferred balance
Interest diem
Interest due from
rata MiP/PMI
Escrow advance halance
escrow
Buydown i reserve
D =
life /

Late
Monthly late amoune
Tasutficient funds (NS

fee
Demand fee

advances
Aactired
uttomey costs

Estimated fees
Estimated costs
Total Estimated Amounts

Total Amount Good

ee

PEL/LZ

O5/31/19

$127,199.64
30.00
$583.00
$46,057.00
$24.91
6.01

$0.00
50.00

00

$0.00
$0.00
$0.00

$0.00
$0.00
50.00
$0.00
$16.40)
$14,923.75
$50.

6,587.4

.00
$0.00

 

‘Other fees and corporate advances include amounts such as property inspections, foreclosure fees and costs and valuations that may be charged as
part of the terms of your loan documents and/or permitted by applicable Jaw, or that were authorized for services we completed. If you need

additional information about any of these amounts, please call us at one of the numbers below.

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 25 of 59

 
Pineurred ittomey tees and costs include amounts that have been incurred and billed by the attorney or trustee but not yet charged to the account at
the time the payoff quote was requested.

“This payoff statement shows the total amount you owe. However. you might not have to pay every fee for the lien to be released. For more
information, please call us at 1-800-848-9380. or 1-800-582-0542 for TTY services.

The amounts ubove ure sabject to final verification when we receive your payoff. If your Ioan is not up to date, all default-related activity may

continue, and we may continue to charge fees and costs until the Loan is paid off. If foreclosure activity has begun on your loan, we may continue
this activity and there may be additional foreclosure charges.

Please send your payoff amount using one of these options below:
* By wire transfer to:

Account name: JPMorgan Chase Bank. NLA.

Attn: Payoff Processing
Account number: 323553729

Routing number: 021000021

Be sure to include the following information in the wire description:
* Your Chase account number
* The names of all customers listed on the loan
« The property address
+ The representative's contact information

You may be charged a fee by the wire transfer provider for this service.

* By mail ta:
Chase
Attn: Payoff Processing
Mail Cade OH4-71274*
3415 Vision Drive
Columbus, OH 43219-4009

*Far Cooperative Unit or New York Consolidation Extension and Modification Agreements, use Mail Code: OH4-2222,

If you have questions. please call us at one of the numbers below. We appreciate your business.
Sincerely,

Chase
1-877-838-1882
1-800-582-0542 TTY
chase.com

Bsta comunicacién contiene informacion importante acerca de la cuenta. Si uene alguna pregunta o necesita ayuda para traducirla. comuniquese con
nosotros llamande al 1-877-838-1882,

Enclosure
Important Information about Your Payoff

1, If you have 4 closing date scheduled and the date changes, you should contact us to request a new payoff quote as soon as possible,

' 2. Please send a copy of this letter with your payment. You can use the address or wire transfer instractions above for payment information, or call
us at 1-800-548-7912 if you have questions.

3. When we receive your payoff. we'll verify that it matches the payoff quote. If the loan is in defauit, the fees and cosis incurred after the quote
was issued may continue to be assessed until the loan is paid off.

Case 19-42329-BDL Doc44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 26 of 59
4. The payoff amount is subject to our final verification once we receive the payoff funds. Regardiess of the "good through” date on this payoff
quate, if the loan is in default, we may continue all default-related processes, including but not limited to foreclosure sale, and we may continue to
assess all fees und costs incurred after this payoff quote is issued until the loan is paid in fall. If you caa’t pay the amount listed in this letter. please
call us at 1-800-848-9380 to discuss the assistance options that may be available. If you're paying off your loan as a result of a natural disaster.
please call us at 1-800-848-9136 to see if we can offer you assistance.

5. We reserve the right , except where prohibited, to adjust the payoff amount and refuse any insufficient funds for any reason, including. but not
limited to, error in calculation of the Total Payoff Amount. previously dishonored checks ar money orders, stop payment of checks or pending
automatic mortgage payments or additional payments we made between the date of this payoff quote and the date we received the funds.

6. if yea had a prior loan modification that incladed a Principal Reduction Alternative (PRA), you may be eligible to have your PRA
forbearance canceled

We'll reduce the unpaid principal balance of your Joan by one-third of the initial PRA forbearance amount (a predetermined amount) if your loan is
in good standing on the first. second and third anniversary dates of your trial period. This means if you continue ta make your payments on time for
three years, We'll cancel the entire PRA forbearance amount,

We'll deduct the unapplied PRA forbearance amount from your payoff balance if the Joan is in good standing and you pay off the loan in full:
+ Anytime 30 days after the modification effective date.
+ After the PRA reporting and payment processes are available, and
» Before the payment of the entire PRA forbearance amount,

Your payoff balance may increase if your payments are late
Your loan can lose good standing if it becomes three full monthly payments past due. The loan can’t be restored ta good standing even if you pay

the past-due payments and bring it up to date, If your loan loses good standing after your payotf request but before we receive the payoff. your
actual payett amount will be higher and you'll need to request a new quote.

7. If your account has been referred to foreclosure: The payoff figures listed above may include items we paid of that were incurred by the
foreclosure law firm that are or will be due by the gond-through date. If applicable, we’ ve included estimated fees and costs that we expect to
charge between now and the good-through date. These estimated fees and costs show what the amount will be if you pay off your loan by the good-
through date. We only require you to pay the fees and costs actually incurred by the date we receive your payoff, as permitted by your loan
documents or applicable law. If your payoff figure listed above includes any estimated fee or cost or other item and the amount we receive is more
than enough to pay off your loan, we'll return any excess to you. However, if we receive less than the actual amount due, we reserve the right to

return the payment and continue with the legal process. Please call us at 1-860-848-9380 within 24 hours of making a payment to confirro the
exact amount needed to pay off your mortgage.

8. The payolf figure does not include estimates of non-attormney fees and costs that Chase may incur before or after the expiration of the quote.
These may include but are not limited to amounts Chase may spend to avoid placement of homeowner-association and other liens. to pay delinquent
homeowner-association fees, and to pay to inspect, value or preserve the condition of the property if applicable. The actual fees and costs Incurred
by Chase for these items may be assessed to your account ata tater date. Please note if there are outstanding fees due on the loun that were not
included in the quote, Chase will accept funds paid in response to this quote if funds received by the good through date.

9. All previous checks we may have received for your monthly payments must have cleared for the payoff amount listed in this letter to be valid.
Please don’t stop payment an any checks youve already mailed to us or cancel automatic mortgage payments before your loan is paid in full If
your loan hasn't been referred to foreclosure. late charges may continue to be assessed if payments aren’t made before the late charge assessment
date. You can call us at 1-800-548-7912 to determine if there are any lute charges.

10. Ef we receive a payment that isn’t enough to pay off the loan, we will return the funds.

11, We only require that you pay the fees and costs actually incurred as of the date of your payment. If the payoff amount above includes any
anticipated fees and/or costs and is more than the actual amount due on the date we receive your payment, we'll return any overpayment to you.

12. Tf your loan bas an escrow account. we'll continue to pay your insurance and/or tax payments until we receive the payoff amount. If we make
escrow payments on the loan before the good through date listed above, you or your closing agent (if applicable} are responsible to pay any
remaining amount needed to pay off the joan in full, If we receive a payment that’s less than the amount needed to pay off the joan, we have the
right to collect the shortage. or return the payment if the shortage amount isn’t paid. We'll refund any remaining escrow balance or averpayment to
the account. We won't transfer funds from your escrow account to any other account, unléss you're refinancing with us.

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 27 of 59
[3. Restricted eserow funds: Restricted escrow funds are made up of insurance claim proceeds that we received for your property. If we are
holding any restricted escrow funds related to your Joan, these funds may be used to pay off your account in full. If you intend to pay olf your
account in full with these funds, please sign and return the enclosed Letter of Authorization form. The completed form must be returned to our
office before we can use the funds to pay off your account. If you use these funds to pay off your Joan, you will not be able to use them to repair

your property. and you will be responsible for paying any outstanding contractor invoices. The funds cannot be used to pay down or reduce the
amount owed if you do not intend to pay off your account.

14. If we receive funds and apply them to pay off your account, but are then asked to return them because of a payoff rescission or for any other
reason, unless prohibited by law. wel charge a fee of $800 to restore your account on our system. We must receive this fee and applicable monthly
payments due before we'll return the payoff funds. We also reserve the right to not return the payoff funds.

15. If we receive a payment on or before the good through date, we'll take action to discontinue the pending foreclosure activity and the foreclosure
action initiated on this property will cease. We encourage you to call us al 1-800-548-7912 before you send your payment to make sure you're
sending the exact amount needed to pay off your loan. After payoff. you may need to sign documents or take other actions to assist with the

withdrawal ot any foreclosure proceedings. If a foreclosure sate is scheduled for your property, this letter doesn’t extend or change the sale
date. :

16. FHA Partial Claim Home Affordable Modification Program (HAMP) modification agreement

Tf you have a subordinate interest-free mortgage that was established as part of a HAMP partial claim agreement, you'll receive an additional quote
several days later from Novad containing ull of the information you need to pay off and release your existing second lien on the property. The
second lien or FHA partial claim established from the delinquent amount must be paid off in addition to the first lien, Both quotes contain the most
up-to-date information about your loan and the payoff amounts needed to pay it in fill, Send the full payoff amount fisted an the Chase quote to us,

and send the full payoft amount for your subordinate quote to Novad. If you have questions about the partial claim payoff quote. please cal] Novad
Partial Cash Management at 1-877-622-8525.

17, We'll send the lien release to your county recorder's office after we apply the payoff amount to your account. You're not required to call and

request 4 lien release; however. you can request a copy from your county recorder’s office 60 to 90 days after payoff. For more information, please
call us at 1-866-756-8747 or write to us at:

Chase

Attn; Research Correspondence
780 Kansas Lane, Suite A
Monroe. LA 71203

Tmportant Legal Information
Tf your account is not in bankruptey. this communication is an attempt to collect a debt and any information obtained will be used for that purpose.

However, if you are currently in active bankruptcy status or to the extent your original obligation was discharged or is subject to an automatic stay
of bankruptcy under Title 1] of the United States Code. this notice is for compliance with non-bankruptcy law and/or informational purposes only
and does not constitute an attempt to collect a debt or fo impase personal liability for such obligation, Nathing in this letter (including our use of the
words “your,” “loan,” “mortgage.” or “account”) means that you're required ta repay a debt that’s been discharged, Any payment you make on the ©
account is voluntary, but we may still have rights under the security instrument, including the right to foreclose on the property.

If you are represented by an attorney, please refer this letter to your attorney anc provide us with the attorney’s name. address, and telephone
number,

Tf you live in California and are not in bankruptcy: The California Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection
Practices Act require that, except under unusual circumstances, collectors may not contact you before 8 a.m. or after 9 p.m. They may not harass
you by using threats of violence or arrest or by using obscene language. Collectors may not use false or misleading staternents or call you at work if
they know or have reason to know that you may not receive personal calls at work. For the most part. collectors may not tell another person, ather
than ‘your atlormney or spouse, about your debt. Collectors may contact another person to confirm your location or enforce a judgment. For more
information about debt coliection activities, you may contact the Federal Trade Commission at 1-877-FTC-HELP (1-877-382-4357) or fic.gov.

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Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 28 of 59
CHASE &

Mortgage Mailing Address Change Form

If your mailing address has changed, please fill out this form and send it to:
Mail: Chase (Mai] Code OH4-7302)
P.O, Box 24696
Columbus. OH 43724
Fax: 1-614-493-7575
Chase Mortgage Account Number: 12492583

Mortgagor Name(s}: ERICKA A MICHAL.

 

New Contact Information:

Mailing Street Address:

 

City: State: ZIP:

 

Customer Requesting Change (Print Name):

 

Customer's Signature: Date:

Please call us at 1-860-848-9136 for any other changes.

nm CASE 4$9-47329-BDL --Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 29 of 59
CHASE &

Executive Office (Mail Code OH4-7120)
3415 Vision Drive
Columbus, OH 43219

August 21, 2019

gonna "Tot 15 NSPOMCLO-21 0 000000
Ericka Michal

1627 64 Avenue Southwest
Puyallup, WA 98371-5627

We have completed our research

Customer Name: Ericka Michal

Account: FHRERPO EES

Reference Number. ECW190805-04329
Property Address: 1627 6" Avenue Southwest

Puyallup, WA 98371

Dear Ericka Michal:

Thank you for your telephone cali on August 5, 2019, about the foreclosure sale scheduled for August 16,
2019, and your request to remove attorney fees for the mortgage foan listed above.

The foreclosure sale scheduled for August 16, 2019, was cancelled. We are unable to remove the
attorney fees from your joan since they accrued due toe the account status.

Here is more information about the foreclosure sale

The scheduled foreclosure saie on August 16, 2019, was cancelled due to your active Chapter 7
bankrupiey status, case 19-42329, which was filed on July 17, 2079. In the state of Washington, if you
have a scheduled foreclosure sale, you can postpone a sale under a bankruptcy stay for up ta 120 days
from the original sale date. The original foreclosure sale was scheduled on April 26, 2019. If there is a
bankruptcy stay in effect, ine scheduled sale date with either be postponed ar cancelled. Your loan is
insured by the Federal Housing Authority (FHA). All FHA foreclosure postings are handled for Chase by
auction.com and aren't directly controlled by Chase.

Here is information regarding the foreclosure referral
We confirmed the referral to foreciosure of the property was valid and that it followed all applicable state
laws and investor or Chase servicing guidelines. When the property was referred on February 15, 2011,

ithe October 1, 2010, morigage payment was due, along with all subsequent payments and applicable
fees.

We sent you the following letters to fet you know the loan was past due and could be referred to
foreciosure if not brought current:

*« Breach letters dated September 3, 2010, November 3, 2010, November 29, 2010, and August 16,
2018
® Referral to foreclosure letter dated February 25, 2071

« Notice of Default letters dated July 31, 2012, September 29. 2016, April 4, 2017, August 29,
2017, April 30, 2019, and July 17, 2019

if you are in bankruptcy or received a bankruptcy discharge, this letter is for compliance and/or
informational purposes only and does not constitute an attempt to collect a debt or fo impose personal
fiability for such obligation.

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Case 19-42329-BDt Doc 44 Filed T1/T3719 Ent: 11/13/19 15712:35° Pg. 30 of 59
 

 

 

f « Notice of Sale letters dated March 18, 2013, Navember 8, 2013, April 11, 2614, June 1, 2016,
: August 22, 2017, December 13, 2017, December 19, 2018, and April 12, 2019

in our letters, we also provided a phone number for you if you wanted to discuss payment assistance
options. Copies of these letters are not enclosed but available upon your request.

lf you have questions about the foreclosure process or for information about bringing the loan up to date,
please call the McCarthy & Holthus Law Firm at 619-685-4800.

We respectfully decline your request to waive $1,600 in attorney fees; we confirmed the fees are valid
because of the delinquency and foreclosure activity.

Here is information about the corporate advance items

We reviewed the Corporate Advance Fee balance of $14,923.75, and confirmed this amount is valid. The
balance consists of 71 home inspections on the property, legal casts charged to the account during the
foreclosure proceedings from May 27, 2003, to August 1, 2019, legal costs charged! to the account during
the bankruptcy proceedings from February 6, 2006, to December 7, 2007, and property preservation
costs charged fo maintain and protect ine property. When a mortgage is 45 days ar more past due, we
inspect the outside of the property to check its condition and make sure it isn’t abandoned. We'll conduct
an inspection every 30 days after that if the mortgage isn’t up to date. These actions are allowable under

the terms of the Security Agreement. Tae tay 4 Np Nadkten Agec __

We have enclosed a capy of the Corporate Advance letter that we mailed to you on April 24, 2019,
detailing each fee (ihe amount and what the fee was charged for) charged to your loan.

Here is information about your 2018 payment assistance review
We reviewed the loan for a Federal Housing Administration (FHA) three-month repayment plan. This pian
is availatte far customers who are between one and two payments past due. At the time of the review

January 9, 2018, the loan was due for June 2011 payment. Based on this status, the loan was noi eligibie
for this program. aang

We reviewed the loan for a FHA six month repayment plan. In order to be eligible for this program, ihe
lean cannot be more than 72 months past due. Due to the delinquency of the loan, the loan did not qualify
for ihis program.

We were unable to approve the loan fora FHA Home Affordable Modification Program (HAMP). Thé goal
of the program is to reach an affardable/target past-madified payment with a hausing ratio (HR) under
40%, In an attempt to reach the target payment, we adjusted the interest rate to 4.00% and the terms
were extended to 360 months. After completing these steps, the target payment was not reached, making
4 principal deferment through a partial claim necessary. The maximum allowable partial claim cannot
exceed 30% of the unpaid principal balance (UPB) as of tne date of default related to the first partial
claim, if a prior one exists. in this case, the maximum partial claim/deferment was $39,021.28. This
resulted in a post-modified payment of $1,213.49. We took this payment and diviffd hoy tne calculated
monthly gross income of $1,581.00 which resulted in a HR of 76.75%. Because we were unable to

achieve an affordable payment within the program limits, we were unable to approve the loan for this
program. ‘

Here is information regarding the loan payments
We're also enclosing a payment reconciliation, which includes all payments received and disbursements
made on your mortgage loan. We have confirmed that the payment reconciliation is accurate.

If you would like to dispute the manner in which your payments or disbursements have been applied to
your account, please provide proof supporting your claim and send it to us by mail or fax to:

Mail: Chase Research Department
PO Bax 24696
Columbus, OH 43224-0696
Fax: 1-614-422-7574

Here is the current status of the loan

Cas AnmddeypAbecs Oy Au adelo iad’ antehbnbllb DAeed det? to hibose pe ha
The property is protected from foreclosure because the loan is in active Chapter 7 bankruptcy, Case
Number 19-42329, which was filed on July 17, 2019. We received the last payment on November 2,
2015, for $1,260.04.

After reviewing your inquiry, we found no instances of unfair tactics or atternpts to deceive you. We
_ researched your concerns and provided you with the results of our research. We have carefully reviewed

the history of your loan and have confirmed that we serviced the loan in good faith, consistent with our
lending guidelines.

lf you have questions about your loan, please call us at 1-800-848-9136 Monday through Thursday from
8 a.m. to midnight, Friday from 8 a.m. to 10 p.m., and Saturday from 8 a.m. to 1 p.m. Eastem Time. If you
still need help, aur office is available Monday through Friday from 8 a.m. to 9 p.m. and Saturday fram
9am. ta5p.m. Eastern Time. We accept operator relay calls.

 

Sincerely,

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Home Lending Executive Office
4-877-805-8049
chase.com

Enclosures

Esta comunicacion contiene informacion importante acerca de la cuenta. Si tiene alguna pregunta o
necesita ayuda para traducirla, comuniquese con nosotros llamande al 1-877-805-8049, de lunes a
viernes de 8a.m.a3 p.m. y sabados de 9 a.m. a5p-.m., hora del Este.

Important Lega! Information
This is not an attempt to collect a debt; this is a response to a customer inquiry.

information about your bankruptcy filing

To the extent your original obligation was discharged or is subject io an automatic stay of bankruptcy
under Title 11 of the United States Code, this notice is for compliance with non-bankruptcy law and/or
informational purposes only and does not constitute an attempt to collect a debt or to impose personal
liability for such obligation. Nothing in this letter (including our use of the words “your,” “loan,” “mortgage,”
or “account”’) means that you're required to repay a debt that's been discharged. Any payment you make

on the account is voluntary, but we may still have rights under the security instrument, including the right
to foreclose on the property.

lf you are represented by an attorney, please refer this letter to your attorney and provide us with the
attorney’s name, address, and telephone number.

Information for Servicemembers and their dependents

If you or any occupant of your home are or recently were on active Military duty or related active service,
you may be eligible for benefits and protections under the federal Servicemembers Civil Relief Act
(SCRA), state law, or Chase policy. This includes protection from foreclosure or eviction, and in some
cases, interest rate benefits. Some protections also may be available if you are the dependent of an
eligible Servicemember. Although Servicemember interest rate benefits under the Servicemembers Civil

Retief Act don’t allow you to defer payments, California law allows for a six-month deferral if certain
conditions are met.

For more information, please call Chase Military Services at 1-877-469-0110.

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If you are in bankruptcy or received a bankruptcy discharge, this letter is far compliance and/or
informational purposes only and does not constitute an attempt to collect a debt or to impose personal
liability for such obligation.

 

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JO/pue eouBydusi0d 40, $1 iaqay sity ‘aGueyosip Ajjdnijueg e parsiaces io Aojdruyueg ui ase NOA Jf

 

 

Casé 19-42329-BDL Doc 44 Filed 11/13/19 — Ent. 11/13/19 15:12:35 Pg. 33 of 59
Chase (Mail Code OH4-7399)
P.O. Box 183222

Columbus, OH 43218-3222
For undeliverable mail only

 

April 24, 2019

Encka A. Michal
1627 6th Ave SW
Puyallup, WA 98371-5627

 

[

ry

Here's the information you requested about costs we paid on your mortgage account

Account: 0012492583
Property Address: 1627 6th Ave SW
Puyallup, WA 98371-0000

Pear Ericka A. Michal:

We've reviewed the amount of costs we paid for this loan from February 21, 2002, to April 24, 2019. Here's
an explanation of the current balance:

 

Total amount of costs we paid on the loan: $22,016.85
Amount of reduced or deducted balance: $7,093.10
Current balance: $14,973.75

 

 

Options for paying down the cost balance

* Pay the current monthly mortgage payment, plus all of the costs we paid in full, or

* Pay the current monthly mortgage payment, plus a portion of the costs we paid each month until the
costs are paid in full. At that time, the payment would go back to the regular monthly mortgage
payment.
If we receive more than the monthly payment, we'll pay any late charges owed before applying the
additional funds toward these costs.

If a payment is made after requesting a payoff quote for this balance, please call us for a new payoff
quote,

There are three types of costs
* Recoverable costs: We pay these up-front and you repay us.
* Non-recoverable costs: We pay these in full, and you don't have to repay them

* Third-party recoverable costs: We may collect these from a third party, and you don't have to repay
them.

We paid these costs te third parties when the account was past-due

The Note or Security Instrument signed at closing gives us permission to protect our interest in the property
if the account is past due. That is why we paid these costs to third parties. If the loan transfers to another
company, the cost balance will need to be paid to the new servicer. We may inspect the property, ask a real

estate broker to evaluate the property value, or hire a legal firm. We also may add the cost for these actions
to the loan, as permitted by state law.

 

 

Case 19-42329-BDL D6éc 44 Filed TI/T3/I9~ Ent. 11/13/19 15:12:35 Pg. 34 of 59
 

The list below explains the costs we paid to third parties for the loan as of April 24, 2019:

+ Casts far 71 home inspection(s) an the property. We may order home inspections to confirm

occupancy or check the condition of the property when 2a monthly payment is more than 45
days past due.

* Legal costs charged to the account during the foreclosure proceedings from May 27, 2003, to
August 1, 2019.

« Property preservation costs charged to maintain and protect the property.

* Legal costs charged to the account during the bankruptcy proceedings from February 6, 2006,
to December 7, 2007.

We've enclosed an explanation of costs that were added or deducted from the loan.

If you have questions, please call us. We value our relationship with you and are happy to help with all
your banking needs.

Sincerely,

Therresa Delgado

Relationship Manager

Chase

1-877-496-3138 ext. 3462337 Direct number
1-800-848-9136 General number

1-614-422-7575 Fax; it's free from any Chase branch
chase.com

Enclosure(s)

Esta comunicacion contiene informacidn importante acerca de la cuenta. Si fene alguna pregunta o
necesita ayuda para traducitla, comuniquese con nosotros HMamando al 1-855-280-4198.

Important Legal Information

We are a debt collector

This is an attempt to collect a debt and any information obtained will be used for that purpose. However, to
the extent your original obligation was discharged or is subject to an autornatic stay of bankruptcy under
Title 11 of the United States Code, this notice is for compliance with non-bankruptcy law and/or
informational purposes only and does not constitute an attempt to collect a debt or to impose personal
liability for such obligation. Nothing in this letter (including our use of the words “your,” "loan,"
"mortgage," or account") means that you're required to repay a debt that's been discharged. Any payment

you make on the account is voluntary, but we may still have rights under the security instrument, including
ihe right to foreclose on the property. ,

If you are represented by an attorney, please refer this letter to your attorney and provide us with the
attomey's name, address, and telephone number.

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CCBiB

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 35 of 59
ERICKA A MICHAL

Loan — 0012492583 __
Corporate Advance Fees Assessed as of 04/24/19 =
04/03/19 15.00 Cost of having a field inspection company visit the property to determine if the =
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days ==
past due. =,

03/06/19 15.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

WMO

02/02/19 15.00 Cost of having a field inspection company visit the property to deterraine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

OL/I2/19 5.89 Mailing costs incurred during the foreclosure process.
OV/12/19 6.31 Mailing costs incurred during the foreclosure process.
OL/I2/19 7.79 Mailing costs incurred during the foreclosure process.

01/12/19 360.00 Cost of publishing the foreclosure sale date in local newspaper(s).
O1/12/19 = 100.00 Cost of having an attorney reverse the foreclosure sale.
01/12/19 101.00 Cost of the notice of sale that shows the time and location of the sale of the property.

01/12/19 90.00 Cost of posting the notice of sale that shows the time and location of the sale of the
property.

O1/12/19 950.00 Cost of legal services to reset sale.
12/31/18 250.00 Cost of cancelling the foreclosure sale.

12/14/18 90.00 Cost of posting the notice of sale that shows the time and location of the sale of the
property.

12/14/18 15.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

11/27/18 15.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

11/16/18 6.31 Mailing costs incurred during the foreclosure process.
11/16/18 5.89 Mailing costs incurred during the foreclosure process.
11/16/18 7.79 Mailing costs incurred during the foreclosure process.

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 36 of 59
 

HAGAS 5.00 Cost of e-recording.
11/16/18 75.00 Cost of having an attorney reverse the foreclosure sale.
LVI16/18 101.00 Cost of the notice of sale that shows the time and location of the sale of the property.

11/16/18 950.00 Cost of legal services to reset sale.

10/19/18 15,00 Cost of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

09/19/18 15.00 Cost of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

08/15/18 15.00 Cost of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

06/27/18 15.00 Cost of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

05/15/18 15.00 Cost of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

O3/16/18 15.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

03/07/18 250.00 Cost of cancelling the foreclosure sale.

G2/13/18 15.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

01/12/18 10.94 Mailing costs incurred during the foreclosure process.
O1/12/18 450.50 Cost of publishing the foreclosure sale date in local newspaper(s).

01/12/18 15.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

12/2/17 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 37 of 59
11/02/17 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

09/30/17 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

09/27/17 18.42 Mailing costs incurred during the foreclosure process.
09/27/17 5.72 Mailing costs incurred during the foreclosure process.
09/27/17 7.60 Mailing costs incurred during the foreclosure process.

OS/27/17 76.00 Cost of the notice of sale that shows the time and location of the sale of the property.

09/27/17 90.00 Cast of posting the notice of sale that shows the time and location of the sale of the
property.

09/27/17 74.00 Cost of having an attorney reverse the foreclosure sale.

08/31/17 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due,

08/03/17 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

06/20/17 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due,

05/20/17 22.88 Mailing costs incurred during the foreclosure process.

05/13/17 14.00 Cost of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

04/14/17 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

04/11/17 362.59 Cost of publishing the foreclosure sale date in local newspaper(s).

04/11/17 74.00 Cost of having an attorney reverse the foreclosure sale.

OA/1 1/17 75.00 Cost of the notice of sale that shows the time and location of the sale of the property.

OA/L TET 5.37 Mailing costs incurred during the foreclosure process.

04/11/17 22.28 Mailing costs incurred during the foreclosure process.

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~~ Case 19-42329-BDL Doct 44" Filéd 11/13/19 Ent. T1/13/19 15:12735 “Pg. 38 of 59
O4/11/17 22.28 Mailing costs incurred daring the foreclosure process.
O41 1/17 7.37 Mailmg costs incurred during the foreclosure process.
O4/V/AV7 5.99 Mailing costs incurred during the foreclosure process.
O4/11/17 10.94 Mailing costs incurred during the foreclosure process.
OFVLI/L7 10.64 Mailing costs incurred during the foreclosure process.

O4/1 1/17 50.00 Cost of posting the notice of sale that shows the time and location of the sale of the
property.

03/14/17 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

01/20/17 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

12/21/16 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

12/15/16 250.00 Cost of cancelling the foreclosure sale.

10/29/16 14.00 Cost of having a field inspection company visit the property to determine if the

home ts occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

10/07/16 10.64 Mailing costs incurred during the foreclosure process.
10/07/16 4.99 Mailing costs incurred during the foreclosure process.
LO/O7/16 7.37 Mailing costs incurred during the foreclosure process.

10/07/16 50.00 Cost of pasting the notice of sale that shows the time and location of the sale of the
property.

10/07/16 569.88 Cost of publishing the foreclosure sale date in local ne wspaper(s).
10/07/16 76.00 Cost of the notice of sale that shows the time and location of the sale of the property.

09/28/16 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

08/27/16 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 39 of 59
07/27/16 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at Jeast 45 days
past due.

06/28/16 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

06/03/16 539.00 Cost of receiving a title guarantee at the start of foreclosure.

05/25/16 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

04/26/16 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

03/18/16 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duce.

02/20/16 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

09/10/15 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

08/05/15 76.00 Cost of the notice of sale that shows the time and location of the sale of the property.

08/05/15 76.00 Cost of the notice of sale that shows the time and location of the sale of the property.

08/05/15 72.00 Cost of having an attorney reverse the foreclosure sale.
08/05/15 72.00 Cost of having an attorney reverse the foreclosure sale.
08/05/15 439.96 Cost of publishing the foreclosure sale date in local newspaper(s}.
08/05/15 436.22 Cost of publishing the foreclosure sale date in local newspaper(s).

08/03/15 17.46 Mailing costs incurred during the foreclosure process.

08/05/15 5.61 Mailing costs incurred during the foreclosure process.
08/05/15 20.51 Mailing costs incurred during the foreclosure process.
08/05/15 5.61 Mailing costs incurred during the foreclosure process.
08/05/15 18.51 Mailing costs incurred during the foreclosure process.
08/05/15 16.83 Mailing costs incurred during the foreclosure process.

 

 

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 40 of 59

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Q8/05/15 86.00 Cost of posting the notice of sale that shows the time and location of the sale of the
property.

08/03/15 80.00 Cost of posting the notice of sale that shows the time and location of the sale of the
property.

O8/05/15 785.12 Cost of receiving a Utle guarantee at the start of foreclosure.

08/03/15 32.85 Cost of receiving an update of a title guarantee at the start of foreclosure.
08/03/15 32.85 Cost of receiving an update of a title guarantee at the start of foreclosure.
08/05/15 32,85 Cost of receiving ari update of a title guarantee at the start of foreclosure.
08/05/15 32.85 Cost of receiving an update of a title guarantee at the start of foreclosure.

08/05/15 50.00 Cost of postponing the foreclosure sale.
08/05/15 50.00 Cost of postponing the foreclosure sale.
08/05/15 472.50 Cost of legal services to reset sale.

O7/16/15 14.00 Cost of having a freld inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

06/02/15 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

05/08/15 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

O4/TI/LS 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

OB/07/15 14.00 Cost of having a field inspection company visit the property to determine if the

hore is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

02/03/15 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

CHAS/LS 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

12/16/14 14.00 Cost of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days

ast due.
Case 19-42329-BDL Doc44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 41 of 59
11/22/14 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

10/16/14 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

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08/06/14 14.00 Cost of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

 

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07/15/14 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

07/02/14 14.00 Cost of having a field inspection cornpany visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

04/30/14 14.00 Cost of having a field inspection company visit the property to determine if the

hore is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

03/29/14 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

02/04/14 70.00 Cost of posting the notice of sale that shows the time and location of the sale of the
property.

02/04/14 70.00 Cost of posting the notice of sale that shows the time and location of the sale of the
property.

02/04/14 76.00 Cost of the notice of sale that shows the time and location of the sale of the property.
02/04/14 76.00 Cost of the notice of sale that shows the time and location of the sale of the property.
02/04/14 431.80 Cost of publishing the foreclosure sale date in local newspaper(s).

02/04/14 32.85 Cost of receiving an update of a title svarantee at the start of foreclosure.

02/04/14 30.00 Cost of postponing the foreclosure sale.

02/04/14 5.27 Mailing costs incurred during the foreclosure process.
02/04/14 19.25 Mailing costs incurred during the foreclosure process.
02/04/14 16.61 Mailing costs incurred during the foreclosure process.
02/04/14 15.81 Mailing costs incurred during the foreclosure process.
02/04/14 72.00 Cost of having an attorney reverse the foreclosure sale.

 

Case 19-42329-BDL Doc 44° Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 42 0f 59
02/04/14 56.00 Cost of postponing the foreclosure sale.

02/04/14 50.00 Cost of postponing the foreclosure sale.

02/04/14 3.27 Mailing costs incurred during the foreclosure process.
02/04/14 15.81 Mailing costs incurred during the foreclosure process.
02/04/14 19.25 Mailing costs incurred during the foreclosure process.
02/04/14 16.61 Mailing costs incurred during the foreclosure process.

02/04/14 15.81 Mailing costs incurred during the foreclosure process.
02/04/14 32.85 Cost of receiving an update of a title guarantee at the start of foreclosure.
02/04/14 32.85 Cost of receiving an update of a title guarantee at the start of foreclosure.
02/04/14 32.85 Cost of receiving an update of a title guarantee at the start of foreclosure.
02/04/14 32.85 Cost of receiving an update of a title guarantee at the start of foreclosure.
02/04/14 16.6] Mailing costs incurred during the foreclosure process.

02/04/14 = 472.50 Cost of legal services to reset sale.

01/03/14 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

12/03/13 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

11/02/13 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

09/26/13 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

O8/17/13 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

07/25/13 14.00 Cost of having a field inspection company visit the property to determine if the

home 1s occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

06/21/13 14.00 Cost of having a field inspection company visit the property to determine if the
home is occupted and the condition of the property. Required when a monthly payment is at least 45 days
past due.

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 43 of 59
remnant

05/21/13 14.00 Cost of having a field inspection corapany visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

04/17/13 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

03/12/13 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

12/29/12 754.46 Cost of receiving a title guarantee at the start of foreclosure.

12/29/12 70.00 Cost of recording the notice of default/intent to foreclose: formal notice of our intent
to sell the property unless you make up the missed payments.

12/29/12 -45 Mailing costs incurred during the foreclosure process.
12/29/12 10.00 Mailing costs incurred during the foreclosure process.
12/29/12 543.75 Standard hourly attorney fee for foreclosure services assessed on 7/31/2012.

11/08/12 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

11/08/12 250.00 The State of Washington issues a breach of contract fee to the servicer of a loan
when a monthly payment is received 30 days past the intended due date.

LO/LA/L2 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

05/25/12 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

03/13/12 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

02/11/12 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

01/24/12 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

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Case 19-42329-BDL™” Doc 44 Filed 17/13/19 Ent. 11/13/19 15:12:35 Pg. 44 of 59
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(2/34/11 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

V1/29/11 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

06/08/11 539.00 Cost of receiving a title guarantee at the start of foreclosure.
06/08/11 202.50 Cost of services provided by the trustee handling the foreclosure.

03/02/11 14.00 Cost of having a field inspection company visit the property to determine if the

home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

01/10/11 14.00 Cost of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

11/30/10 14.00 Cost of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past due.

05/13/10 37.00 Cost of a 660 document preparation and coordination fee.
03/29/10 88.00 Cost of having an attorney reverse the foreclosure sale.
03/29/10 700.60 Cost of publishing the foreclosure sale date in local newspaper(s).

03/29/10 143.02 Cost of posting the notice of sale that shows the time and location of the sale of the
property.

01/19/10 52.58 Mailing costs incurred during the foreclosure process.
01/19/10 64.00 Cost of the notice of sale that shows the time and location of the sale of the property.

12/30/09 = 125.00 Cost of the property title change associated with condemnation, which means that a
property has been acquired by a government entity.

12/10/08 15.00 Cost of appoimrment of a substitute trustee.

(2/10/09 46.00 Cost of the notice of sale that shows the time and location of the sale of the property.
12/10/09 1,066.72 Cost of receiving a tithe guarantee at the start of foreclosure.

12/10/09 = 690.00 Cost of publishing the foreclosure sale date in local newspaper(s).

(2/10/09 585.00 Cost of services provided by the trustee handling the foreclosure.

08/12/09 20.00 Cast of having a field inspection company visit the property to determine if the
home is occupied and the condition of the property. Required when a monthly payment is at least 45 days
past duc.

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 45 of 59
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12/07/07 — 100.00 Cost related to the objection to the confirmation of the plan.

02/06/06 150.00 Cost of having an attorney file a motion for relief, which allows us to continue to
collect a debt or foreclose on a property.

02/06/06 650.00 Cost of having an attorney file a motion for relief, which allows us to continue to
collect a debt or foreclose on a property.

10/29/04 22.00 Cost of recording the foreclosure with the court.

05/07/04 125.00 Costs incurred during the search for title documents to show the history of a

property.

12/12/03 350.00 Cost of having an attomey file the proof of claim on behalf of servicer in the
bankruptcy action.

12/12/03 3.89 Cost of obtaining court documents / trustee records.

10/17/03 $0.00 Cost of having the process server deliver a copy of the lawsuit to appropriate parties.

10/17/03 5597.31 Cost of receiving a title guarantee at the start of foreclosure.

10/17/03 35.41 Mailing costs incurred during the foreclosure process.

10/17/03 760.00 Cost of publishing the foreclosure sale date in local newspaper(s).

1O/1 7/03 24.00 Cost of posting the notice of sale that shows the time and location of the sale of the

property.

10/17/03 10.00 Cost of appointment of a substitute trustee.

10/17/03 675.00 Cost of services provided by the trustee handling the foreclosure.

02/21/02 300.00 Costs incurred during the search for title documents to show the history of a

property.

Corporate Advance Fees Applied $22,016.85

— Advance Fees Deducted as of rons |
—

08/09/18 6,038.89-
advance charges.

03/16/11 130.44-
made.

04/03/08 873.77-
made.

03/22/02 50.00-
made.

TO ax! : “a

As part of a mortgage assistance program, we made a reduction to corporate
The corporate advance balance has been reduced because of a payment you
The corporate advance balance has been reduced because of a payment you

The corporate advance balance has been reduced because of a payment you

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“Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 46 of 59
 

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Corporate Advance Fees Deducted. te

TOTAL CORPORATE ADVANCE BALANCE $14,923.75

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Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 47 of 59
 

 

 

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NAME: ERICKA A MICHAL 12492583
Beginning Principal & Int.: $714,52 Beginning Interest Rate: 6.500%
Beginning Principal Balance: 5110,519.44
Begitining Escrow Balance: (5143.90)
** While the transactions indicated are based on your Inan's histary, this is not your complete history.
It has been prepared as a courtesy te you to better understand your account, and contains selected
items 10 assist in that understanding.

Que Post Transaction Principal Escrow Late Late Charge Unapplied
Date Nate Transaction Amount Principal Interest Balance Escrow Balance Charge Balance Unapplied Balance
11/01/00 01/02/01 PAYMENT $1,000.00 $115.87 5598.65 $110,403.57 $236.34 so2.44 $65.18 $49.14 $49.14

OfodfoL MORTGAGE INSURANCE ($44.96) $110,403.57 ($44.96) 547.48 585.18 $49.14
01/05/01 LATE CHARGE PAID $0.00 $110,403.57 547,48 ($49,14} 516,04 ($49.14) 50,00
01/03/01 HOMEOWNERS INSURANCE (5269.00) $110,403.57 [$269.00} ($221.52) $16.04 $6.00
O1fle/o1 LATE CHARGE ASSESSED $0,00 $110,403, 57 ($221.52) $28.58 $44.62 50.00
02/02/04 MORTGAGE INSURANCE {344.96) $110,403.57 (44,96) (5266,48) $44,62 50.00
02/16/01 LATE CHARGE ASSESSED $6.00 $110,403.57 ($286.48) $28.58 $73.20 $0.00
03/02/01 MORTGAGE INSURANCE (544.96) $116,403.57 (544.95) (s31L.dd) $73.20 $0.00
03/16/01 LATE CHARGE ASSESSED $0.06 $110,403.57 ($314,44) $28.58 $101.78 $0.00
04/04/01 MORTGAGE INSURANCE ($44.96) $110,403 47 ($44.96) ($356.40) $101.78 $0.00
04/12/01 COUNTY TAX {$812.79) 4110,403.57 ($812.79) (51,169,195) $101.78 $0.00
04/16/01 LATE CHARGE ASSESSED $o,00 5110,403,57 {51,169.19} 528.58 5130.36 $0.00
04/26/01 SUSPENSE $980.00 $110,463.57 (51,169,159) 5130.36 $980.00 5920.00
32/01/00 04/97/01 PAYMENT $0.00 $116.50 $598.02 $110,287.07 $236,34 ($932.85) ($29.14) $201.22 ($980.00) $0.00
O5/04/01 MORTGAGE INSURANCE (544,96) 5110,287.07 (544,96) (5977.81) $101.22 $0.00
05/16/01 LATE CHARGE ASSESSED $0.00 $110,287.07 (S97 7.81} 528,58 5129.80 $0.00
05/24/01 SUSPENSE $1,600.00 $110,287.07 (9977.81) $129.80 $1,600.00 | $1,600.00
01/01/01 05/25/01 PAYMENT $0.00 $117.13 $597.38 $110,169.94 $236.34 {$741.47} 5129.80 ($950.86) $649.14
06/04/02 MORTGAGE INSURANCE {$44.96) §110,169.94 (344.96) ($786.43) 5129,80 5649.14
06/18/02 LATE CHARGE PAID 0,00 $110,169.94 ($786.43) ($129.80) $0.00 ($129.80) $519.34
OGf18/01 FEE PAID $0.00 $110,169.94 ($786,43} $0.00 ($36.35) $482,99
GG/iefaL LATE CHARGE ASSERSED $0.00 $110,169.94 ($786.43} $28.58 $28,538 $482.99
86/20/01 LATE CHARGE PAID $0.00 $110,169.94 ($786.43) ($28.58) $0.00 ($28.58) $454,41
06/25/08 SUSPENSE $3,591.00 $110,169.94 (9786.43) $0.00 $1,591.00 $2,045.41
02/01/01 06/26/01 PAYMENT (5950.86) $117.77 $596.75 $130,052.17 $236.34 (8550.09} $0.00 {51,901,72) $143.69
03/1/01 06/26/01 PAYMENT §950.86 $118.40 $596.12 $109,933.77 5236, 34 ($343.75) $0.00 $143.69
07/03/01 MORTGAGE INSURANCE ($44,968) $109,933.77 ($44.96) (5358.71) $0.00 5143.69
07/16/01 LATE CHARGE ASSESSED $0.00 $109,933.77 ($258.71) $28.58 528.58 $143.69
08/03/01 MORTGAGE INSURANCE ($44.96) $109,933.77 {$44,965} (5403.67) $28.58 $143.69
08/06/01 LATE CHARGE PAID $0.00 $109,933.77 {$403.57) 1828.58} $0.00 (528,58) 5115.11
08/16/01 LATE CHARGE ASSESSED 46.00 $109,933.77 ($403.6 $115.11
sie fooen’ > sobso wBPl orcas lencgaa hone EZ Lisi ae->-allll Cima Seat tenon
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Due Post Transaction Principal Escrow Late Late Charge - 7 Unapplied
Date Date Transaction Amount Principal Interest Balance Escrow Balance Charge Balance Unapoplied Balance

09/05/01 MORTGAGE INSURANCE (544.95) $109,933, 77 (544.96) ($362, 10} 50,00 ($0.00)

09/17/01 LATE CHARGE ASSESSED $0.60 $109,933.77 (5362, 10} $28.58 528.58 ($0.00)

09/18/01 LATE CHARGE WAIVED £0.00 §169,933.77 (5362.10} ($28.58) $0.00 (8G. 00)

10/04/01 MORTGAGE INSURANCE (544.96) $109,933.77 (544.96) (5407.06) 50.00 (50,00)

16/09/01 HOMEOWNERS INSURANCE [$458.00} $109,933.77 {5458,00) (5865.08) s0.00 ($0.00)

10/41/01 COUNTY TAX (5812.79) $109,933.77 {5812.75} ($1,677.85) 50.00 ($0.00)

10/26/01 LATE CHARGE ASSESSED $0.00 $109,933.77 (SE,677.85) 528,58 528,58 {50.00)

11/02/03. MORTGAGE INSURANCE (544.96) $109,933, 77 ($44.95) ($1,722.81) $28.58 ($0.00)

11/16/01 LATE CHARGE ASSESSED 50.00 $105,933.77 {51,722.81) $28.58 557.16 {$0.00}

11/29/01 MORTGAGE INSURANCE {$44,35) $109,933.77 ($44.35) {$1,767.16} $57.16 {$0.00}

12/03/01 MORTGAGE INSURANCE ($44.35) $109,933, 77 (544,35) (84,811.51) $57.16 ($0.00)

12/17/01 LATE CHARGE ASSESSED $0.60 $109,933.77 ($1,811,591) 528.58 585.74 ($0.08)

01/16/02 iATE CHARGE ASSESSED 80.00 $109,933.77 ($1,811.51) 528,58 S114, 32 [$G.00)

01/17/02 LATE CHARGE WAIVED 50,00 $109,933.77 ($1,831.51) ($28.58} 585,74 ($6.00)

02/05/02 MORTGAGE INSURANCE {544.35} 5109,933.77 ($44,35} (51,855.86) $85.74 (50.00)

02/84/02 SUSPENSE §185,74 $109,933.77 ($1,855.86) 585,74 $185.74 $185.74

02/18/02 LATE CHARGE ASSESSED 50.00 $109,933.77 (51,855.86) $28.58 $1146.32 5185.74

02/22/02 [SUSPENSE 5950.00 $109,933.77 ($1,855.86) S414.32 $950.00} $3,135.74

03/06/02 DUE DATE ADILIST $0.00 $109,933, 77 ($4,855.86) $114.32 $1,135.76

03/06/02 MORTGAGE INSURANCE {§44.35) $109,933.77 ($44.35} ($3,900.24) $114,432 $4,135.74

03/11/02 LATE CHARGE WAIVED 50,00 $109,935.77 ($4,900.2 L} ($28.58) Sa5.74 $1,135.74

03/12/62 LOAN MAINTENANCE $0.00 {$8 460.67} $5,954.70 $118,394.44 $2,505.97 5605.76 (585.74) 50,00 {585.73} $1,050.01

03/12/02 FEE PAID 0.00 $118,394.44 $605.76 $0.00 ($49.99)] $1,000.02

03/12/02 SUSPENSE ($8.02) $118,394.44 8665.76 $0.00 {$0.02} 51,000.00

03/18/02 LATE CHARGE ASSESSED $0.00 $118,394.44 $605.76 529.26 $29.25 $1,000.00

03/20/02 LATE CHARGE WAIVED $0.00 $118,394.44 $605.76 1529.26} $0.00 $1,000.00

02/01/02 03/20/02 PAYMENT 50.00 515177 $579.64 $118,242.67 S2717,99 $823.75 50.00 (5549.40) 550.60
03/20/02 PRINCIPAL PAYMENT 50.00 50.60 $118,242.07 5823.75 56.00 (50.60) $50.00

03/21/02 ESCROW PAID 59.00 5118,242.07 $50.00 $873.75 50.00 (550.00) (50.00)

03/21/02 ESC DISS TO INVESTOR ($50.00) $118,242.07 ($56.06} $823.75 $0.00 {$0.00}

04/05 /o2 MORTGAGE INSURANCE £544.35) $118,242.07 (544,35) $779.40 $0.00 ($0.00)

04/68/02 COUNTY TAX ($872.99) $148,242.07 ($872.99) {$93.59} $0,08 {$0.00}

04/16/02 LATE CHARGE ASSESSED $0.00 $118,242.07 {$93.59} $29.26 $29.26 {0.00}

03/01/02 04/26/02 PAYMENT $1,007.92 $152.52 S§578,89 $118,089.55 5217.99 $124.40 ($29.26) $0.00 §29,25 579,26
04/26/02 SUSPENSE 3978.66 $118,089.55 5124.40 $0.00 $978.66 $1,007.92

4/o1/a2 04/26/02 PAYMENT {$58.52} $153.26 $578.15 $117,936.29 $217,99 $342,359 $0.00 ($1,007.92) $a.00
04/26/02 PRINCIPAL PAYMENT $29.26 $29,268 S117,907,03 $342.39 $0.00 50.00

05/06/02 MORTGAGE INSURANCE {$44.35} $117,907.08 ($44.35} $298.04 $0.00 $0.00

05/18/02 LATE CHARGE ASSESSED 80.00 $117,907.03 2928.04 $29.26 §25.26 $0.00

06/05/02 MORTGAGE INSURANCE ($44, 35} $117,907.03 {544.35} $253.69 $29.26 50.00

G6/17 /O2 LATE CHARGE ASSESSED $0.00 S1LL7,907,03 $253.69 $29.26 $58.52 50,00

07/05/02 MORTGAGE INSURANCE ($44, 25} $117,907.03 {$44.35} $209.34 $58.52 $0.00

07/16/02 LATE CHARGE ASSESSED $0.00 $317,907.03 $209.34 $25.26 $87.78 *S0.00

05/01/02 07/34/02 PAYMENT $1,000.06 5154.16 $577.25 SLE? 752,87 $217.99 $427.35 $87.78 $50.60 $50.60

Case 19-42329-BDL Doc44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 49 of 59 :

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

Due Post Transaction Principal Escrow Late Late Charge Unapplied
Date Bate Transaction Amount Principal interest Bajanca Escrow Balance Charge Balance Unaopplied Balance

07/25/02 LATE CHARGE PAID $0.00 $117,752.87 $427.33 {350,60} $37.18 [$50.60} $0.00

03/06/02 MORTGAGE INSURANCE ($44.35) $117,752.87 ($44.35) $382.98 537,18 $0.00

08/16/02 LATE CHARGE ASSESSED ~ $0.00 SEL?, 752,87 $382.98 $29.26 566.44 50,00

09/08/02 MORTGAGE INSURANCE {$44.35} $117,752.87 (544,35) §3938,63 566.44 $0.00

05/16/02 LATE CHARGE ASSESSED 50.00 $117,752.87 $332.63 $29.26 $95.70 $0.00

09/30/02 HOMEOWNERS INSURANCE ($458.00) $17,752.87 (5458.00) 1$419.37} $95.70 50.00

10/04/02 MORTGAGE INSURANCE {$44.35} SLE? 752.87 ($44.35) ($163,72} $95.70 $0.00

1o/o4a/02 HOMEOWNERS INSURANCE |538,00) $117,752.87 ($38.00} (201.725 $95.70 $0.00

10/10/02 COUNTY TAX (5872.95) $117,752.87 ($872.99) {51,074.71} $95.70 $0.00

10/16/02 LATE CHARGE ASSESSED $0.00 $117,752.87 ($1,074,71) $29.26 $124,596 $0.00

11/06/02 {MORTGAGE INSURANCE 4544.35) S17, 752,87 ($44,35} {51,119.06} $124.95 50.00

11/16/02 LATE CHARGE ASSESSED 50,00 $117,752.87 {$1,119.06) 529.26 $154.22 $0.00

12/06/02 MORTGAGE INSURANCE (543,70) $147,752.87 (543. 70} ($1,162.76) $154.22 $0.00

12/16/02 LATE CHARGE ASSESSED §0.00 $117,752.87 {$1,162.76} $29.26 $183.48 $0.00

01/04/03 MORTGAGE INSURANCE ($43.70} $117,752.87 {543.70} ($1,206.46} $183.48 $0,00

01/16/03 LATE CHARGE ASSESSED $0.00 $117,752.87 ($1,206.46) $29.26 $212.74 $0.00

01/24/03 SUSPENSE $950.00 $117,752.87 ($1,206.46) $212.74 $950.00 $950.00

06/01/02 02/05/03 PAYMENT ($0,00} $154,591 $576.50 $117,597.95 $217.99 ($988.47) ($0.60) §212,14 (5950.00) $0.00
02/06/03 MORTGAGE INSURANCE (543.70) $117,597.95 {$43, 70) ($1,032.17) $212.14 $0.00

03/08/03 MORTGAGE INSURANCE (543, 70} $117,597.96 ($43.70) ($1,075.87} $212.14 $0,00

o7/o1/02 03/20/03 PAYMENT $1,500.0 $155.67 $575.74 $117,442.29 $235.55 ($840.32) $212.14 $533.04 $533.04
04/04/03 MORTGAGE INSURANCE (343,70) $117,442.29 ($43.70) (5884.02) $212.14 5533.04

04/09/03 COUNTY TAX (848,42) $117,442.29 ($848.42) ($1,732.44) $212.14 $533,048

05/05/03 MORTGAGE INSURANCE ($43.70) $117,442.29 ($43.70) ($1,776.14) $242.14 $533.04

05/16/03 LATE CHARGE ASSESSED $0.00 $117,442.29 {$1,776.14} $25,26 $241.40 $533.04

06/06/03 MORTGAGE INSURANCE ($43.70) $117,442.29 {843. 70] (54,819.84) $241.46 $533.04

06/16/03 LATE CHARGE ASSESSED $0.60 $117,442,29 ($1,819.24) $29.26 $270.66 $533.04

07/05/03 MORTGAGE INSURANCE ($43.70) $117,442.29 ($43.70) ($1,363.54) $270.66 $533.04

07/46/03 LATE CHARGE ASSESSED $0.00 $117,442.29 (51,863.54} $29.26 $299.92 $533.04

08/06/03 MORTGAGE INSURANCE {543.70} $117,442.29 {543.70} ($4,907,24} $259.97 $533,04

08/18/03 LATE CHARGE ASSESSED $0.00 $117,442,29 ($1,907.24) $29.26 $329.18 $535.04

09/05/03 MORTGAGE INSURANCE {543.70) $117,442.29 ($43.70) (51,950,594) 5329.18 5433.04

05/16/03 LATE CHARGE ASSESSED $0.00 $117,442.29 ($1,950.94) $29.26 $358.44 5533.04

09/23/03 HOMEOWNERS INSURANCE ($685.00) $117,442.29 ($695.00} [$2,645,94) $358.44 $533.04

10/04/03 MORTGAGE INSURANCE ($43.70) $117,442.29 (543,70) ($7,689.64) $358.44 $533.04

10/14/03 COUNTY TAX ($843.42) $117,442.29 (5848.42) ($3,538.06) $358.44 $533.04

10/16/03 LATE CHARGE ASSESSED $0.00 S317,442.29 ($3,538.06) 529.26 $387.70 $533.04

11/06/03 MORTGAGE INSURANCE (643, 70) Si17,442.29 ($43.70) (53,581.76) $387.70 $533.04

12/05/03 MORTGAGE INSURANCE ($43.01) $117,442.29 ($43,01} {53,824,777} $387.70 $533.04

12/30/03 SUSPENSE $728.68 $117,442.29 {$3,624.77} S3R7,70 $728,638 $1,261,72

o1f05/o4 MORTGAGE INSURANCE ($43.01) $117,442.29 ($43.01) ($3,667.78) $387.70 $1,261.72

. 02/05/04 SUSPENSE $322.75 $117,442.29 (53,567, 78) 5387.70 $322.75 $1,584.47
08/04/02 2/05/04 PAYMENT 5238.28 $156.43 $574,98 $147,285.86 $235.55 (53,432.23) $387.70 ($728.68) $855.79
09/01/02 02/05/04 PAYMENT $966.96 $157.20 $574.24 $117,128.66 5235.55 $855.79

 

Case 19-42329-BDL Doc44 Filed 11/13/19 Ent. 11/13/19 15:12:3

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Due Post Transaction Principal Escrow Late Late Charge Unapplied
Date Date Transaction Amount Principal Interest Balance Escrow Balance Charge Balance Unapplled Balance

02/06/04 MORTGAGE INSURANCE (543,01) $117,128.66 4543.03} (53,235,69} $387.70 $855.79

40/01/02 03/03/04 PAYMENT $966.96 $157.97 $573.44 $116,970.59 $235.55 ($3,004.14) 5387.70 $855,79
03/03/04 SUSPENSE $561.04 $116,970,69 ($3,006, 14) $387.70 S5BL.04| $1,416.83

03/05/04 MORTGAGE INSURANCE ($43.04) , $116,970.69 ($43.01) (53,047,15} 5387.70 $1,416.83

41/01/02 03/19/04 PAYMENT $0.00 $153.74 $572.67 | $116,811.95 $235.55 ($2,811.60) $387.70 (5966.95) 5449.87
03/19/04 CORP ADVANCE ($449.87) $116,811.95 ($2,311.60) $387.70 ($449.87) $0.00

42/01/02 04/01/04 PAYMENT $1,089.36 $159.52 5571.89 $116,652.43 $235.55 {$2,576.05} $387.70 5122.40 $122.40
04/01/04 SUSPENSE $438.64 $116,652.43 {$2,576.05} $387.70 $438.64 $581.04

04/02/04 COUNTY TAX (5856.76) $116,652.43 ($856, 75) ($3,432.81) $387.70 $551.04

84/05/04 MORTGAGE INSURANCE {$43.01} $116,652.43 (543,01) (53,475.82) 5327.70 $564.04

05/06/04 MORTGAGE (NSURANCE (543,01} $116,652,43 ($43.01) ($3,518.83} $387.70 8561.04

01/0) /oz 06/01/04 PAYMENT $256,965 $160.30 SSPE AL $116,992.13 $235.55 (53,283,28) $387.70 $561.04
06/01/08 SUSPENSE $561.64 $116,492.13 ‘ (53,283.28) 5387.70 $561.04 $1,122.08

62/01/03 06/02/04 PAYMENT 50,00 $161.08 $570.33 $146,331.05 $235.55 {53,087.73) $387.70 ($966.95) $155.12
06/04 /o4 MORTGAGE INSURANCE ($43.01) $116,331.05 ($43.01) ($3,090.74) $387.70 $155.12

03/01/03 06/30/04 PAYMENT $966.95 $161.87 $565.54 $116,169, 18 $235.55 {$2,855,19) $387.70 $155.12
06/30/04 SUSPENSE $561.04 $416,169.18 (52,855, 19) $387.70 $551.06 $716.16

07/02/04 MORTGAGE INSURANCE ($43.01) $116,169.18 ($43.01) (52,898.20) 387,70 $716.16

o7/16/04 LATE CHARGE ASSESSED $0.00 $116,169.18 ($2,898.20) $29.26 $416.96 5716.16

04/01/03 08/02/04 PAYMENT $966.95 $162.67 $568.74 $116,006.51 $235.55 ($2,662.65) $416.96 $716.16
8/02/04 SUSPENSE $561.04 $116,006.51 ($2,662.65) $416.96 5561.04 $1,277.20

05/01/03 08/02/04 PAYMENT 5966.96 5163.46 5567.95 $114,843.05 $235.55 ($2,427.10) $416.96 $1,277.20
08/02/04 SUSPENSE §561.04 $115,243.05 (52,427.10) $416.96 $561.08) $1,838.24

03/06/04 MORTGAGE INSURANCE ($43.01) $115,843.05 ($43.01) ($2,470.12) $416.96 $1,838.24

08/16/08 LATE CHARGE ASSESSED $0.00 $115,243.05 (82,470.12) $29.26 $446.22 $1,838.24

09/03/04 MORTGAGE INSURANCE ($43.01) $145,863.05 ($43.01) ($2,513.12) $446,227 $1,938.24

v6 /01/03 09/14/04 PAYMENT $966,98 5164.25 $567.15 $115,678.79 $225.55 {$2,277.57} $446.22, 51,838.24
o9/14/04 SUSPENSE 5561.04 $115,578.79 ($2,277.57) $446.22 $561.04} $2,399.28

09/16/04 LATE CHARGE ASSESSED §0,00 $115,678.79 ($2,277.57) $29.26 $475.48 $2,399.28

1o/o6/04 MORTGAGE INSURANCE ($43.01) $115,678.79 {543,01} ($2,320.58) 8475.48 $2,399.28

1a/o6/o4 HOMEOWNERS INSLIRANCE ($654.00} $115,578.79 ($654.00) (52,974.53) $475.48 $2,399.28

07/03/03 10/13/04 PAYMENT 50.00 $165.07 5566.34 $115,513,72 $235.55 {52,739.03) $475.48 (51,933.92} $465.36
08/01/03 10/13/04 PAYMENT $0.00 $165.87 $565.54 $115,347.85 5235.55 {52,503,48) $475.48 $465.36
10/13/04 COUNTY TAX (5856, 76) $145,347.85 (5856, 74) ($3,360.24) $475.48 $465.36

10/18/04 LATE CHARGE ASSESSED $0.00 $115,347.85 ($3,360.24) $29.26 $504.74 $465.36

11/05/04 MORTGAGE INSURANCE {543,03) $415,347.85 ($43.01) ($3,403.25) $504.74 $465.36

12/04/04 MORTGAGE INSURANCE ($42.27) $115,347.85 {$42,27) ($3,445.52) $504.74 $465.36

81/06/05 MORTGAGE INSURANCE ($42.27) $455,347.85 ($42.27) (53,487.79) $504.74 $465.36

09/01/03 04/19/05 PAYMENT $1,536.00 $166.69 $564.72 5115,181,16 $235.55 ($3,252.24) $504.74 $569.04 | 53,034.40
02/04/05 MORTGAGE iNSURANCE {$42.27} $115,181.16 (542,27) (93,294.51) $504.74 $1,034.40

10/01/03 02/22/05 PAYMENT $465.04 $167.50 $563.91 $115,013.66 $235.55 (53,058,96} $504.74 ($397.92) $636.48
_ 1/01/03 02/22/05 PAYMENT $966.96 $168.32 $563.09 $114,845.34 $235.55 {$2,823.41} $504.74 5636.48
12/01/03 03/04/05 PAYMENT $1,536,060 $169.15 $562.26 $114,676.19 5266.03 ($2,563.38) $504.74 $544.56 $1,181.04
03/04/05 MORTGAGE INSURANCE 1942.27) $114,676.19 {542.27} {$2,605.65) $504.74 $1,181.04

 

Case 19-42329-BDL Doc 44

Filed 11/13/19

Ent. 11/13/19 15:12:35 Pg. 51 of 59

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Due Post Transaction Principat _ Escrow Late Late Charge Unappled
Date Date Transaction Amount Principal Interest Balance Escrow Balance Charge Balance Unapplied Balance

o4/0a/05 MORTGAGE INSURANCE ($42.27) $114,676.29 {$42,27} ($2,697.92) $504.74 $1,181.04

o4/06/a5 COUNTY TAX ($957.65) $124,676,19 ($957.65) ($3,605.57) $504.74 51,281.04

05/05/05 MORTGAGE (NSURANCE ($42.27) $114,676.19 ($42.27) ($3,647.84) $304,748 $L181.04

06/04/05 MORTGAGE INSURANCE ($42.27) $114,676.19 ($42.27) (S3,690.11} $504.74 $1,18L.04

07/02/05 MORTGAGE INSURANCE (542.27) $114,676.19 ($42.27) ($3,737.38} $504.74 $1,181.04

01/01/04 07/27/05 PAYMENT $1,057.12 $169.97 5561.44 $114,506.22 $260,03 ($3,472.35} $504.74 565.68 $1,246.72

92/01/04 07/27/05 PAYMENT $991.44 $170.81 $560.60 $114,335.41 $260.03 {$3,212.32} $504.74 $1,246.72

03/04/04 O7/27/05 PAYMENT $991.44 SE71.64 $559.77 $114,163.77 $260.03 ($2,952.29} $504.74 $1,246.72

08/02/05 MORTGAGE INSURANCE {$42.27) $114,163.77 [542.27] (52,994.56) $504, 74 $1,246.72

05/03/05 MORTGAGE INSURANCE [$42,279 $114,163.77 {$42,27) (53,036.83) $504.74 $1,246.72

09/23/05 SUSPENSE $1,522.00 $114,163.77 (53,036.83) $504.74 $1,532.00 $2,778.72

04/01/04 05/29/05 PAYMENT ($0.00) $172.48 $558.93 $113,991.29 $260,03 {52,776.80) §504,74 (S993.44)f $1,787.28

05/01/04 10/05/05 PAYMENT ($0.00) $173.34 $558.08 $113,817.96 $260.03 [52,516.77} $504.74 {S998.44) $795.84

10/05/05 [MORTGAGE INSURANCE {$42.27) $113,817.96 (542,27) (52,559.04) $504, 74 $795.84

10/06/05 COUNTY TAX {5957.66} $113,817.96 ($957. 65} (53,526.70) $504.74 $795.84

10/10/05 HOMEOWNERS INSURANCE (5747.00} $113,817.96 (5747.00} (84,263.70) $504.74 $795.84

11/04/05 [MORTGAGE INSURANCE ($42.27) $113,817.96 ($42,27} (54,305.97) $504.74 S795.84

12/05/05 [MORTGAGE INSURANCE (541.49) $113,817.96 (541.49} ($4,347.46) $504.74 $795.84

O1/05/06 [MORTGAGE [INSURANCE {$41.49} $113,817.98 (S41.49} ($4,388.95} $504, 74 $795.94

02/08/06 MORTGAGE INSURANCE {$41.49) $113,817.96 {$41.49} ($4,430.44) $504.74 $795.84

06/01/04 02/23/06 PAYMENT $923.56 $174.18 $557.23 $113,543.78 $260.03 494,170.42) $504.74 (567,88) $727.96

o7/O4r/0a 02/23/06 PAYMENT $991.44 $175.03 $556.38 $113,468.75 $260.03 ($3,910.38) $504.74 $727.96

03/06/06 MORTGAGE INSURANCE ($41,49) §113,468,75 1541.49) ($3,951.87) $504.74 $727.96

04/05/06 MORTGAGE INSURANCE {$41.49} $113,468.75 {541,49) {$3,993.36} §504,74 $727.56

04/05/06 COUNTY Tax ($1,075. 33} $113,468.75 1 ($1,075.33) ($5,088.69) $504.74 $727.96

oa/o1/na 04/25/06 PAYMENT $7,277.00 $175.89 $555.52 $213,292.86 $260.03 {54,808.66} $504.74 $6,285.56 $7,013.52

03/01/04 04/28/06 PAYMENT $0.00} SL76,75 $554.56 $113,116.11 $260.03 ($4,548,63} $504.74 (SO9E.44)— $6,022.08

1n/01/04 05/03/06 PAYMENT {$0.00} $177.51 $553.80 §142,938.50 $260.03 ($4,288.60) $504.74 {$991.44}, $5,030,564

05/05/06 MORTGAGE !NSURANCE ($41.49} $112,938.50 (541,49) ($4,330,09} $504.74 $5,030.64

11/01/04 05/09/06 PAYMENT $0.00 $178.48 $552.93 $112,760.02 $260.03 ($4,070.06) $504.74 ($3,965.76); $1,064.88

12/01/04 05/09/06 PAYMENT $0.60 $179.36 9552.05 $112,580.66 $260.03 ($3,310.03) §504,74 $1,064.88

01/01/05 05/09/06 PAYMENT $0.00 $180.23 $551.18 $112,400.43 $260.03 (53,550.00) $504.74 $1,064.88

02/01/05 05/09/06 PAYMENT $0.00 S18E.12 $550.29 $112,219.31 $260.03 ($3,289.97) $504.74 $1,0684,88

06/05/06 MORTGAGE INSURANCE (543,49) $112,219.31 (541.49) ($3,331.46) $504.74 $1,054.88

07/03/08 MORTGAGE INSURANCE ($41.49) 242,219.31 (541,49) (93,372.95) $504.74 $1,064.88

02/01fos o7f25/06 PAYMENT $4,081.12 $182.00 $549.41 $312,037.31 $260.03 (63,112.92) $504.74 $89.68 $1,154.56
04/01/05 07/25/06 PAYMENT $970.97 $182.89 $548.52 $111,854.42 $235.56 {$2,873,36) $504.74 $1,154.56 1.

05/01/05 07/25/06 PAYMENT 51,011.91 $183.79 $547.62 $111,670.63 $280.50 (52,592.86) $504.74 $1,154.56

08/04/06 MORTGAGE INSURANCE ($41.49} $111,670.63 ($41.49) (52,634.35) $504.74 $1,154.56

06/01/05 08/15/06 PAYMENT 40.00 $184.59 $546,792 5131,485.96 $239.56 {$2,394,79) $568,74 (5970.97) $183.59

09/02/05 MORTGAGE | NSURANCE ($41.49) $111,485.94 ($41.49) ($2,436.28) $504.74 $183.59

10/04/06 MORTGAGE INSURANCE (341.49) $111,485.94 ($41.49) ($2,077,774 $504.74 $183.59

, 10/04/06 COUNTY TAX {$1,075.34} $114,485.94 | (51,075.34) ($3,553.14) $504.74 $183.59

10/11/05 HOMEOWNERS INSURANCE ($749.00) $111,485.94 (5749.00) 5383.59

 

 

 

 

 

 

 

 

 

Case 19-42329-BDL Doc44 Filed 11/13/19 Ent. 11/13/19 15:12:3

 

 

 

   

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Date Date Transaction Amount Principal Interest Balance Escrow Balance Charge Balance Unapelied Balance

a7/o1fos 30/24/06 PAYMENT $1,106.06 $185.59 5545.82 $111,300.35 $299.56 ($4,062.55) $504, 74 $135.09 $318.68
08/01/05 10/24/06 PAYMENT $970.97 $186.50 $544.91 SL£4,113.85 $239.56 {$3,822.99} $504.74 $318.68
oo/01/05 10/24/06 PAYMENT $970.97 $187.42 $543.99 $110,926.43 $239.56 ($3,583.43) $504.74 $318.68
11/04/06 MORTGAGE INSURANCE ($41.49) $110,926.43 (541.49) {$3,624.93} $504.74 $318.68

12/04/06 MORTGAGE INSURANCE (540,65) $110,926.43 ($40.65) ($3,665.57) $504.74 $318.68

10/01/05 12/26/08 PAYMENT $4,145,399 $188,354 $543.08 110,738.10 $239.56 ($3,426.01) $504.74 $174.42 $493.10
11/01/05 12/26/06 PAYMENT $970.97 $189.25 $542.16 $110,548.85 5239.56 {$3,186.45} $504.74 $493.10

| __ 12/01/05 12/26/06 PAYMENT $970.97 $190.18 $541.23 $110,358.57 5239.56 ($2,946.89) $504.74 $493.10
12/26/06 SUSPENSE 93,008,67 $110,358.67 (52,946.89) $504.74 $3,008.67 $3,501.77

01/02/06 02/03/07 PAYMENT $0.00 $191.11 $540.30 $110,167.56 5239.56 (52,707,33} $504, 74 (S970.97)} $2,530.80
01/04/07 MORTGAGE INSURANCE ($40.65) $110,167.56 ($40.65) {$2,747.98} $504.74 $2,530.80

02/01/05 01/17/07 PAYMENT $0,00 $192.05 $539.35 $109,975.51 $2739.56 ($2,508.42) $504.74 ($970.97}] $1,559.83
02/02/07 MORTGAGE INSURANCE {540,65} $405,975.51 {$40.55} {52,549.07} $504. 74 $1,559.83

03/05/07 MORTGAGE INSURANCE {$40.65} §105,975.51 1640.65) ($2,589.72) 5504, 74 $1,559.83

| 04/04/07 MORTGAGE INSURANCE {$40,65) $109,975.51 {540.65} {$2,630.37} $504.74 $1,559.83
L_ aasf1a/o? COUNTY TAK {S1,155.16} $109,975.51 | (53,155.16) ($3,785.53) $504.74 $1,559.83
- 05/04/07 MORTGAGE INSURANCE ($40.65) $109,975.51 ($40.65) ($3,825.18) $504.74 $1,559.83
03/01/06 05/29/07 PAYMENT $0.00 $192.99 $538.42 $105,782.52 5239.56 {53,586.62} $504.74 (5970.97) $588.86
06/02/07 MORTGAGE INSURANCE ($40.65) $109,782.52 $40.65} ($3,627.27] 5504.74 $583.86

a 04/01/06 06/21/07 PAYMENT $B97,09 $193.93 $537.48 $109,588.59 $239.56 (93,387.74) $504.74 (573.83) $514.98
05/01/06 06/21/07 PAYMENT $970.97 $194.88 5936.53 $109,393.71 $239.56 ($3,148.15) $504.74 $514.98

| 96/01/06 06/21/07 PAYMENT $970.97 $195.84 $535.57 $109,197.87 $239.56 {$2,908.59} $504.74 $514.98
07/01/06 06/21/07 PAYMENT $976.97 5196.80 $534.61 $109,001.07 5239,56 {$2,665.03} $506.74 $514.98
07/03/07 MORTGAGE INSURANCE ($40.65) $105,001.07 ($40.65) {$2,709.63} $504.74 $514.98

08/04/07 MORTGAGE INSURANCE (840.65) 4 $109,003,07 ($40.65) ($2,750.33) $504.74 $514.98

08/01/06 08/23/07 PAYMENT $1,612.88 5197.76 $533.65 $108,803, 38 $239.56 ($2,510.77) 5504.74 SG4L91 $1,456.89
09/04/07 MORTGAGE INSURANCE (540.65} $108,803.34 (540.65) ($2,551.42) $504.74 $1,156.89

89/13/07 LATE CHARGE PAID $0.00 $108,803. 31 {52,551.92} {5175, 56) $329.18 {$175,55) $981, 33

05/01/08 09/19/07 PAYMENT $1,066.25 $298.73 $532.68 $108,404.58 $334.84 {52,216.58} $329,18 $981.33
10/01/06 09/19/07 PAYMENT $1,189.74 $199.70 $531.71 $108,404.38 $334.84 (81,881.74) $329.18 5123.49 $1,104.82
Lo/o4/07 MORTGAGE INSURANCE (840.65) $108,404.28 $40.65) ($1,922.39) $329.18 $1,104.82

1oyfag An? COUNTY FAX ($1,155. 16} $108,404.88 } ($1,155, 16) (53,077.55) $3279.18 SE, 100.82

10/03/07 HOMEOWNERS INSURANCE (51,135.00} $108,404.28 | 151,435.00) ($4,2E2.55) $329.18 $1,104.82

11/01/06 10/18/87 PAYMENT $153.50 $200.68 $530.73 $108,204.20 $334.84 (53,877.73) $329.18 ($912.75) $192.07
|__ 22/01/06 10/18/07 PAYMENT $1,066.25 $201.66 $529.75 $108,002.54 $334.84 153,542.87) $223.18 $192.07
| _ o1fo1s07 10/18/07 PAYMENT $1,066.25 $202.65 $528.76 SED?7,799,89 $334.84 {53,208.03} $329.18 $197.07
14/05/07 MORTGAGE INSURANCE ($40.65) $107,799.89 (540.65) {53,248.68} $329.18 $192.07

11/16/07 LATE CHARGE ASSESSED $0.00 $107,799.85 ($3,248.63) $29.26 $358.44 $192.07

11/30/07 SUSPENSE $4,027.42 $107,799.89 ($3,248.68) $353.44 $1,027.42 $1,219.49

12/05/07 MORTGAGE INSURANCE ($39.75) $107,799.89 {$39.75} (53,288.43) $358.44 51,219.49

02/01/07 12/13/07 PAYMENT $4,013.01 $203.64 $527.77 $107,595.25 $334.84 (52,953.99) $358.44 {$43,.24)) $1,471.25
03/01/07 12/13/07 PAYMENT $1,066.25 5204.64 $526.77 $107,391, 61 $334.84 ($2,618.75) $358.44 SLU7L25
12/13/07 SUSPENSE $698.32 $107,391.51 ($2,613.75) $358.44 $698.32 $1,869.57

td o1/o4/o8 MORTGAGE INSURANCE $29.75} $107,391.61 ($39.75) 152,658.50) $358.44 $1,869.57

 

Case 19-42329-BDL Doc 44

Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 53 of 59

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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02/04/08 [MORTGAGE INSURANCE ($39.75} $107,391.61 ($39.75) (52,693.25) §358,04 $1,869.57

03/05/08 MORTGAGE INSURANCE {$39.75} $107,391.61 (539.75) (32,738.00) 5358.44 $1,869.57

04/03/08 CORP ADVANCE {$873.77} §107,391.61 ($2,732.00} $358.44 ($873.77} $995.80

04/04/08 MORTGAGE INSURANCE {$39.75} $107,391.61 ($39.75) (52,777.75} $358.44 $995.80

04/07/08 COUNTY TAX ($1,155.39) 107,391,651 ($1,155.39) (53,937.14} 5358.44 5995.80

05/05/08  § iMORTGAGE INSURANCE (539,75) $107,392.61 {539,75} (53,972.89) $358.44 $995.80

04/01/07 05/09/08 PAYMENT $1,087.50 $205.64 $525.77 $107,185.97 $334.84 (53,638.05) $352.44 $21.25 | 44,017.05
as/oLfa? 05/09/08 PAYMENT $1,066.25 $206.65 $524.76 $106,979, 32 $334.84 ($3,303.21) 5358.44 $1017.05
06/04/07 05/09/08 PAYMENT $1,066.25 $207.66 $523.75 $106,771.66 $334.84 ($2,968.37) $358.44 $1,017.05
7/01/07 05/09/08 PAYMENT $1,066.25 $208.67 $522.74 $106,562.99 $334.84 {$2,633.53} $358.44 $1,017.05
06/04/08 MORTGAGE INSURANCE (539.75) $106,562.99 (539,75) ($2,673.28) $358.44 $1,027.05

07/03/08 MORTGAGE INSURANCE ($39.75) $106,562.59 ($39.75) {$2,713.03} 5358.44 $1,017.05

08/04/08 MORTGAGE INSURANCE (839. 75} §106,562.99 539.75) (52,752.78) $358.44 $1,017.05

09/04/08 MORTGAGE INSURANCE ($39.75) $106,562.99 ($39.75) ($2,792.53} $358.44 $1,017.05

08/01/07 ag/11/08 PAYMENT $1,714.50 $209.70 $521.71 $106,353,29 $334.84 (52,457.69) $358.44 $648.25 $1,655.30
10/63/08 MORTGAGE INSURANCE (539.75} $106,353.29 (939,75) ($2,497.44) $358.44 $1,665.30

10/07/08 HOMEQWNERS INSURANCE (51,084.00} $106,355.23 | ($1,084.00) (53,581.44) $358.44 $1,665.30

10/09/08 COUNTY TAX {$1,155.40} $106,353.29 | ($1,155.40) ($4,726.84) $358.44 $2,665.30

09/01/07 iof1o/o08 PAYMENT $155.55 $210,72 $520.69 $106,142.57 $334.84 ($4,402.00) $358.44 ($910.70) $754.60
10/01/07 10/10/02 PAYMENT $1,066.25 $241.75 $519.66 $105,930.82 $334.84 ($4,067.26) $358.44 $754.60
11/01/07 10/10/08 PAYMENT $1,066.25 $212.79 $518.62 $105,718.03 $334.84 (53,732.32) $358.44 $754.60
12/01/07 10/10/08 PAYMENT $1,042.13 $213.82 $517.58 $105,504_20 $310.72 ($3,421.60) $358.44 $754.60
01/01/08 10/10/08 PAYMENT 51,090.37 $214.88 $516, 53 5105,289,32 $358.96 {$3,062.64} 5353.44 $754.60
10/10/08 SUSPENSE $1,195, 20 $105,285.32 {$3,062,64) $358.44 $1,199.20 §1,953.80

02/01/08 10/15/08 PAYMENT $0.00 $215.93 §515,48 $105,073, 39 $310,72 {$2,751.92} §358,44 ($1,042.13) $911.67
11/05/08 MORTGAGE INSURANCE (439,75) $105,073.39 ($35, 75) (52,791,67} $358.44 $911.67

12/04/08 MORTGAGE INSURANCE (538.80) $105,073.39 ($33.80) ($2,830.47) $358,44 $911.67

01/05/09 MORTGAGE INSURANCE ($38.20} $105,073.39 {338.80) {52,869.27} $358.44 $911.67

02/05/09 MORTGAGE INSURANCE (538.80) §205,073,39 1538.20) (52,908.07) $358.44 $911.67

03/05/09 MORTGAGE INSURANCE ($38.80) $105,073.39 1538, 80) 152,946.87) $358.44 S316?

03/16/09 ESCROW PAID $0.00 $105,073.39 $911.67 {$2,035.20} $358.44 ($911.67) $0.00

04/03/09 MORTGAGE INSURANCE {$38.20} $105,073.39 ($38.80) {52,074.00} $358.44 $0.00

a4 /o4so9 COUNTY TAX ($1,098.92} $105,073.39 | 151,098.92) {$3,172.92} $358.44 $0.00

05/04/09 MORTGAGE INSURANCE (938.80) $105,073.39 ($38.80) ($3,211.72) $358.44 $0.00

06/04/09 MBRTGAGE INSURANCE (838.80) $105,073.39 {838.80} ($3,250.52) $358.44 $0.00

07/02/09 MORTGAGE INSURANCE ($38.20) $105,073.39 {538,30} {$3,289.32} 9358.44 $0.00

08/05/09 MORTGAGE INSURANCE ($38.80) $105,073.39 {$38.80} ($3,328.12) $358.44 $0.00

8/16/09 WORTGAGE (MSURAMCE ($28.80 $104,073.39 i$38.8n) ($3,366.97) $358.44 $0.90

10/01/09 COUNTY TAX {$1,098.93} $105,073.39 | 451,098.93) ($4,965.85) 5358.44 $0.00

10/05/09 MORTGAGE INSURANCE 1538.80) $105,073.29 (538.80) (34,504 65) $358.44 $0.00

10/07/09 HOMEOWNERS INSURANCE (51,386.00) $105,073.39 | ($4,386.00) {55,890.65} $358.44 $0.00

. 11/05/09 MORTGAGE INSURANCE ($38.80) $105,073.39 ($38.80) ($5,929.45) $358.44 $0.00
12/04/09 [MORTGAGE INSURANCE ($37, 78} $105,073.39 (537.78) ($5,967.23) $358.44 $0.00

o1/o4/10 iMoRTGace (NSURANCE ($37.78) $105,073.39 (337,78) $0.00

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Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent.

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Due Post Transaction Principal Escrow Late Late Charge Unappliad
Cate Date Transaction Amount Principat Interest Balance Escrow Balance Charge Balance Unapoplied Balance
a2 jn4d/ 10 MRRTGAGE INSURANCE (S37 78h 5105.07.29 {3778 (56,042.79) 6358.46 so.00
03/04/1G MORTGAGE INSURANCE ($37. 78} $105,073.39 (537.78) ($6,080.57) $258.44 $0.00
03/19/10 LOAN MAINTENANCE $0.00 ($26,939.04) $132,012.43 [$6,088.57) $358.46 $6.00
03/19/10 ESCROW PAID $8,133.35 5132,012.43 $8,133.45 $2,052.78 $358.44 $0.00
63/29/10 DISBURSEMENT TO MORTGAGOR ($224.13) $132,017.43 ($221.13) $1,831.65 $353.44 $0.00
03/30/10 LATE CHARGE WAIVED $0.00 $132,012.43 $1,831.65 (8358.44) $0.00 $0,00
04/02/10 MORTGAGE INSURANCE ($37.78) $132,012.43 (537,78) $1,793.87 $6.00 59,00
04/07/10 COUNTY TAX ($1,237.81) $132,012.43 | (54,237.81) $556.06 50.00 $0.00
O5/OL/i0 04/29/10 PAYMENT $1,085.99 $144.49 $605.06 $131,867.94 $336.44 $892.50 $0.00 $0.00
04/29/10 PRINCIPAL PAYMENT $0.01 $0.01 $431,867.93 $892.50 $0.00 50.00
05/05/10 MORTGAGE INSURANCE (837.78) $131,867.93 (537, 78) $8546.72 $0.00 $0.00
06/04/10 MORTGAGE INSURANCE (S37. 78} $131,867.93 {537.78} $816.94 $0.00 $0.00
06/16/10 LATE CHARGE ASSESSED $0.00 $131,367.93 $816.94 $25.98 $25.98 $0.00
o6/O1/19 06/30/10 PAYMENT $1,115.97 $145.16 $604.39 $131,722.77 $336.44 $1,153.38 ($29.93) $0.00 $6.00
06/30/10 PRINCIPAL PAYMENT $30.03 $10.03 $131,712.74 $1,153.38 $0.00 $0.00
a7 05/10 MORTGAGE INSURANCE {$37.78} S131, 711.74 (937.73) $4,115.60 $0.00 $0.00
07/16/10 LATE CHARGE ASSESSED $0.00 $132,712.74 $1,115.60 $29.98 $29.98 §0,00
a7/01/ 10 07/27/10 PAYMENT $1,085.99 $145.87 $603.68 $131,566.87 5336.44 $1,452.04 529,98 $0,090
og /o4/10 MORTGAGE INSURANCE ($37.73) $131,566.87 (537.78} $1,414.26 $25.98 $0.00
08/16/10 LATE CHARGE ASSESSED $0.00 $131,566.87 $1,444.26 $25.98 $59.96 $0.00
09/04/10 MORTGAGE INSURANCE {837.78) $131,566.87 (537.78) $1,476.48 $59.96 $.0G
09/16/10 LATE CHARGE ASSESSED 56,00 $131,566.87 $1,376.48 $29.98 $89.94 $0.00
08/01/10 09/17/10 PAYMENT $1,171.74 $146.54 $603.05 $131,420.33 $336.44 $1,712.92 {985.75} $4.19 $0.00
os/ol/io 09/17/10 PAYMENT $1,128.26 $147.21 $602.34 $131,273.12 $378.71 $2,091.63 $a.19 $0.00
09/24/10 COUNTY TAX ($1,237.82) $131,273.12 | ($1,237.82) $853.81 $4.19 $0.00
10/04/10 MORTGAGE INSURANCE ($37.78} $131,273.12 ($37.78) $816,03 54.19 $0.00 |
10/07/20 HOMEOWNERS INSURANCE (51,508.00) $131,273.12 | ($1,508,00} ($691.97) $4.19 $0.00
10/18/10 LATE CHARGE ASSESSED $0.00 $131,273.12 ($691.97) $29.98 534.47 $8.00
12/08/10 MORTGAGE INSURANCE ($37.78) $131,273.12 ($37.78} ($729.75) 534.17 $0.00
11/16/10 LATE CHARGE ASSESSED 50.00 5131,273.12 ($729.75) $25,958 $64.15 50.00
12/02/40 MORTGAGE INSURANCE {536.69) $131,273.12 {536.69} {9766.44} $04.15 $0.00
12/16/10 LATE CHARGE ASSESSED $0.00 $131,273.12 ($766.44) $29.98 594.13 $0.00
12/31/19 SUSPENSE $800.00 $131,273.12 ($766.44) §94,13 $800.00 $800.00
BL/OS/12 MORTGAGE INSURANCE (536.59) $131,273.12 (536.89) ($803,13} $94.13 $80.00
Disaafid LATE CHARGE ASSESSED: $0.00 $334,273.12 ($803.13) $25.98 $124.41 $3806.00
02/04/11 MORTGAGE INSURANCE ($36.59) $131,273.12 (536,69) (5239,82} $124.11 5800.00
03/04/11 MORTGAGE INSURANCE (535,59) $331,273.12 ($36.69) ($876.51) $124.11 $800.00
O3/16/11 CORP ADVANCE (5130.44) $134,273.12 (3876.51) $124.11 (513044) $669.56 |
10/01/10 03/16/11 PAYMENT: $458.70 $147.88 $604,67 $131,125.24 $378.71 (9497.80) $124.11 ($669.56) $0.00
lif/Gifio 03/15/11 PAYMENT $4,128.26 $148.56 $600,99 $130,976.68 $378.71 {$115.09} $124.41 $6.00
12/01/19 03/16/13 PAYMENT $1,128 26 $149.24 $600.31 $130,827.44 $378.71 $259.62 $224.14 $0,00
| b1yorfit 03/16/11 PAYMENT $1,128.26 $149.92 $599.63 $130,677.52 $378.71 $638.33 $424.12 $0.00
O2/01/1i 03/16/18 PAYMENT $1,128.26 $150.61 $598.94 $130,526.92 $378.71 $1,017.04 $124.11 $0.00
03/04/15 03/18/1E PAYMENT $1,128.26 $151.30 $593.25 $130,375.61 $378.71 $1,395.75 $124.11 $0.00
Case 19-42329-BDL Doc 44 _ Filed 11/13/19 . 55 of 59 '
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

Due Post Transaction Principal - Escrow Late Late Charge Unapplied
Date Date Transaction Amount Principal Interest Balance Escrow Balance charge Balance Unapplied Balance
a3f2gfti COUNTY TAX ($4,263, 93) $436,375.61 | (61,163.93} 231.82 Si2d.it £0.00
0a/0a/i1 MORTGAGE INSURANCE (536.69) $130,375.61 ($36.69) $195.13 $124.11 $0.00
b4fie7i1 LATE CHARGE ASSESSED $0.00 $130,375.61 $195.13 $25.98 $154.09 30,00
05/05/11 MORTGAGE INSURANCE ($36.69) $130,375.61 ($36.69) $158.44 $154.09 $0.00
O5/16/11 LATE CHARGE ASSESSED $0.00 $130,375.61 $158.4d 529,98 $184.07 $0.00
06/03/11 MORTGAGE INSURANCE (336,69) $130,375.61 {$36.69} $121.75 $184.07 $0.06
06/16/11 LATE CHARGE ASSESSED $0.00 $130,375.61 $121,75 929.98 $214.05 $0.00
O7/G2/11 MORTGAGE INSURANCE {$36.69} $130,375.61 (538,.69} 585.06 $214.05 $0.00
O7/1a/11 LATE CHARGE ASSESSED $0,00 $130,375.61 $85.08 $279.98 $244.03 $0.00
og /o4 fil MORTGAGE INSURANCE ($38.89) $130,375.61 {$36.69} $48.37 $244.03 $0.00
08/16/11 LATE CHARGE ASSESSED $0.00 $130,375.61 $4837 $29.98 $274.01 $0.00
08/26/11 HOMEOWNERS INSURANCE ($830.50) $130,375.61 ($830.50) (8782.13} $274.01 $0.00
09/03/11 MORTGAGE INSURANCE ($36.69) $130,375.61 ($34.69) ($812.82) $274.01 $0.00
09/06/11 HOMEOWNERS INSURANCE ($20.91) $130,375.61 ($80.91) ($899.73) $274.01 $0.00
O9fiG/LL LATE CHARGE ASSESSED $0.00 $136,375.61 (5899.73} $29.98 $303.99 $0.00
09/23/11 MORTGAGE INSURANCE (536.69) $130,375.61 (536.69) ($936.42} $303.99 $0.00
09/23/11 COUNTY TAX ($1,163.93) $130,375.61 | (52,163.93) (52,100.35} $303.99 $0.00
1/17/21 LATE CHARGE ASSESSED $0.00 $130,375.61 ($2,100.35) $25,98 $333,907 $0.00
31/04/11 MORTGAGE INSURANCE (536,69) $130,375.61 ($36.69) ($2,137.04} $333.97 $0.00
12/16/11 LATE CHARGE ASSESSED $0.00 $130,375.62 {52,137.04) 529.98 $363.95 $0.00
12/05/11 MORTGAGE INSURANCE $35.53} $130,375.61 $35.53) 152,172.57} $363.95 $0.00
12afiz/id LATE CHARGE WAIVED $0.00 $130,375.62 {52,172.57} ($363.55) $0.00 $0.00
12/26/12 LATE CHARGE ASSESSED $0.00 $130,375.61 {$2,172.57} $29.98 $29.98 $0.00
22/20/11 LATE CHARGE REVERSAL $0.00 $130,375.61 ($2,172.57} $943.35 $973.33 $943.35 5943.35
12/21/41 CORP ADVANCE (5943,35} $130,375.61 (82,172.57) $973.33 ($943.35) $0.00
12fanfi4 LATE CHARGE WAIVED $0.00 $130,375.61 ($2,172.57) {$943.35} $29.98 $0.00
a1fos/12 {MORTGAGE INSURANCE ($35.53) $130,375.61 (§35.53} ($2,208.10} $29.98 $0.00
O1fi7/t2 LATE CHARGE ASSESSED 50.00 $130,375.61 ($2,208.10) 529,98 $59.96 $0.00
2/03/12 MORTGAGE INSURANCE ($35.53) $130,375.61 {$35.53} (52,243.63} $59.96 $a.00
02/16/12 LATE CHARGE ASSESSED $0.00 $130,375.61 (52,243.63) 529,98 $89.94 30.00
03/02/12 MORTGAGE INSURANCE 535.53} $330,375.61 1535.53) 152,279.16) $389.94 $0.00
03/16/12 LATE CHARGE ASSESSED $0.00 $130,375.61 ($2,279.16} $28.98 $119.92 $0.00
03/27/12 COUNTY TAX ($1,112.59) $130,375.61 ($1,112,59) ($3,391,75) $119,92 $0.00
04/04/12 MORTGAGE INSURANCE ($35.53) $130,375.61 ($35.53) ($3,427.28) $119.92 $0.00
04/16/12 LATE CHARGE ASSESSED $0.00 $130,375.64 ($3,427.28) $29.98 $149.90 $0.00
O5/84/12 MORTGAGE INSURANCE {$35.53} $330,375.61 {$35.53} (53,462.83} $249.90 $a.00
o6/02/12 MORTGAGE INSURANCE ($35,53} $130,375.61 ($35.53) 153,498.34) $149.90 $0.00
07/03/12 MORTGAGE INSURANCE {$35.53} $230,375.61 ($35.53} ($3,533.87) $149.90 $6.00
07/03/12 HOMECHWNERS INSURANCE ($1,068 83) $130,375.61 | {51,068,83) (54,602.70) §349,90 $0.00
08/03/12 MORTGAGE INSURANCE ($35.53) $130,375.81 (535,53) {$4,638.23} $149.90 50.00
09/04/12 MORTGAGE INSURANCE ($35,53} $130,375.61 ($35.53) ($4,673,76} $149,90 $0.00
10/01/12 COUNTY TAX ($1,112.59} $130,375.61 | {$1,112.59} (55,785,35} $149.90 $0.00
10/02/12 MORTGAGE INSURANCE {$35.53} $120,375.61 ($35.53) {$5,821.88} $149.90 $0.00
11/02/12 MORTGAGE INSURANCE ($35.53} $130,375.65 ($35.53) $0.00

 

Case 19-42329-BDL Doc44 Filed 11/13/19 Ent. 11/13/19 15:12:3

 

 

 

 

 
 

Late Charge

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Due Post Transaction Principai Escrow Late Unapplied
Date Date Transaction Amount Principal interest Balance Escrow Balance Charge Balance Unapnplied Balance
14/27/12 LAFE CHARGE WAIVED $0.00 $130,375.61 (55,857.41} (5149.90) $0.00 50.00
12/03/12 MORTGAGE INSURANCE (534.29) $130,375.61 ($34.29) ($5,891.70) $0.00 $0.00
a1/04/13 MORTGAGE (NSURANCE ($34.29) $130,375.61 (534,29) ($5,925.99) $0.00 $0.00
O1f10/13 SUSPENSE $1,012.88 $130,375.81 (95,925.99) 50.00 $1,012.88 | $1,012.88
02/02/13 MORTGAGE INSURANCE (534.29) $130,375.61 (834.29) (85,960.28) $0.00 51,012.88
03/02/13 MORTGAGE INSURANCE (534.29) $130,375.61 {$34.29} (55,994.57) $0.00 $1,012.88
aRf27/13 COUNTY TAX, ($1,086,101 $130,375 41 | ($1,086.10) {$7,080.67} $0.00 $1,017.88
o4/ad/i3 MORTGAGE INSURANCE {534.25} 3130,375.61 ($34.29} (87,124.96) 50,00 $1,022.88
05/03/43 MORTGAGE INSURANCE {$34,29) $130,375.61 ($34.29) ($7,149.25) $0.00 $1,012.88
06/03/33 MORTGAGE INSURANCE ($34.29) $130,375.63 {$34,29) {$7,183.54} $0.00 $1,012.88
07/01/13 HOMEOWNERS INSURANCE ($4,563.95) $130,375.61 | (51,563.95} (8,747.49) $0.00 $1,012.88
07/02/13 MORTGAGE INSURANCE (934.29) $130,375.61 ($34.29) ($8,781.73) $0.00 $1,012.88
08/03/13 MORTGAGE INSURANCE ($34.29) $130,375.61 ($34.29) ($8,216.07) $0.00 $1,012.88
09/04/13 MORTGAGE INSURANCE (534.29) $130,375.61 (534.29) (58,850.36) 30,00 $1,012.88
Lo/ois13 COUNTY TAX ($1,086.10) $130,375.61 | ($1,086.40) (39,936.46) $0.00 $4,012.88
10/04/13 MORTGAGE INSURANCE ($34.29) 9130,375,61 (934.29) ($9,970.75) $0.00 $1,012.88
11/02/13 IMORFGAGE INSURANCE ($34.29) $130,375.61 ($34.25} [$16,005.04) 5p.00 $1,012.88
12/03/13 MORTGAGE INSURANCE ($32.97} $130,375.68 {$32,97) ($10,038.01) $0.00 $1,012.88
01/03/14 MORTGAGE INSURANCE ($32.97} $130,375.61 ($32.97) (810,070.98) $0.00 $1,012.88
02/03/14 MORTGAGE INSURANCE (832,97) $130,375.61 ($32.27) {$40,103.95) $0.00 $1,012.88
03/03/14 MORTGAGE INSURANCE ($32.97) $130,375.61 ($32.97) (510,136.92) 50,00 $1,012.88
o3/25/14 COUATY TAX (51,054.51) $330,375.61 | (51,054.51) ($19,191.43) $0.00 $1,012.88
a4gfo4/14 MORTGAGE INSURANCE (532.97} 5130,375.64 {932,97} (511,224.40) $0.00 $4,012.88
as/oz/14 MORTGAGE INSURANCE ($32.97) $130,375.61 ($32.97) (511,257.37) $0.00 $1,012.88
05/04/14 MORTGAGE INSURANCE (932,97) $130,375.61 (932,97) {$13,290.34} $0.00 $1,012.88
07/03/14 MORTGAGE INSURANCE (532.97) $130,375,61 ($32.97) (511,323.31} 0,00 $1,012.88
07/08/14 HOMEDWNERS INSURANCE {$3,719.35} $130,375.68 | ($1,719.35) {513,042.66} $0.00 $1,012.88
08/02/14 MORTGAGE INSURANCE ($32.97) $130,375.63 (532,97) {$13,075.63} $0.00 $1,012.88
09/04/14 MORTGAGE INSURANCE {$32.47} $130,375.51 ($32.97) ($13,168.68) $0.00 $1017.88
09/30/14 COUNTY TAX ($1,054.54) $130,375.61 | ($1,054.51) ($14,163.11) $0,00 $1,012.88
10/03/14 MORTGAGE INSURANCE {$32,957} $130,375.61 (832.97) (914,196.08) $a.o0 $1,012.88
12/03/14 MORTGAGE {NSURANCE {532.97}; $130,375.61 (53207} (814,229.05) $0.00 31,012.88
12/04/14 MORTGAGE INSURANCE ($32.56) $130,375.61 (531.56} ($14,260.62) 5c.00 $1,012.88
01/03/15 MORTGAGE INSURANCE ($32.56) $130,375.61 ($31.56) {$14,292.17} $0.00 $1,012.88
02/04/15 MORTGAGE INSURANCE ($31.56) $130,375.61 {$31.56} (544,323.73) $0.00 $1,012.88
03/03/15 MORTGAGE INSURANCE ($34.56) $130,375.61 {531,56] (514,355.29) $0.00 $1,012.88
03/26/15 COUNTY TAX ($1,191.32) $130,375.61 | ($1,191.32) ($15,546.61) 50.00 $1,012.88
04/03/15 MORTGAGE INSURANCE (531.56) $130,375.61 ($31.56) (815,578.17) 50.00 $1,012.88
05/02/15 MDRTGAGE INSURANCE ($31.56) $130,375.61 ($31.56) (515,809.73) $0.00 $1,012.88
06/03/15 MORTGAGE INSURANCE ($31.58) $130,375.64 (531,56) ($15,641.29) $0.00 $1,017.88
07/03/15 MORTGAGE INSURANCE (531.56) $130,375.61 ($31.56) (515,672.85) $0.00 $1,012.88
av /forfis HOMEOWNERS (INSURANCE ($1,882.54) $230,375.41 (51,882 54} ($1?,555,39) $0.00 SL012.88
08/03/15 MORTGAGE INSURANCE {$31.56} $130,375.61 {931.56) {517,586.95} $0.00 $1,012.88
09/03/15 MORTGAGE INSURANCE ($31.56) $130,375.61 {531.54) {517,618.51} $0.00 $1,012.88 q

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 57 of 59

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Due Post Transaction Principal Escrow Late Late Charge Unapplied
Date Dore Transaction Amount Principal Interest Balance Escrow Balance Charge Bolanca Unapplied Balanca
05/78/15 COUNTY TAX ($1,191.33) 5130,375.61 ($1,191,.33} ($18,809.84) $0.00 $1,012.88
ibfo2/15 MORTGAGE INSURANCE (531.56) $330,375.62 {831.56} {528,841.40} $0.00 51,012.88
Liyo2/i5 SUSPENSE $1,260.04 $130,375.62 ($18,841.48) $0.60 $1,260.04 $2,272.92
04/01/1E 11/02/15 PAYMENT $0.00 $152.00 $597.55 §130,223.61 $378.75 (518,462.69) $0.00 ($2,256.52] $16.40
OS/01/12 11/02/15 PAYMENT 50.00 $152.69 $596.86 $130,070.92 $378.73 {518,083.93} $0.00 515.40
21 fo3/15 MORTGAGE [INSURANCE (531.56} $130,070.92 £331.56) ($18,115.54} $0.00 $16.40
12/03/15 MORTGAGE INSURANCE (530.06} $130,070.92 (530.06) ($18,145.60} $0.00 $16.40
01/04/46 MORTGAGE INSURANCE ($36,06} $130,070.92 ($30.05) ($18,175,66} $0.00 516.40
02/03/16 MORTGAGE INSURANCE (530.06) $130,070.92 (530.06) (518,205.72} $0.00 516.40
03/03/16 MORTGAGE INSURANCE {$30.06) §130,070.92 (530,06) {$18,235,.78) $0,00 $16.40
03/78/16 COUNTY TAX ($1,256.44) $130,070.92 { {51,256.44} (519,492 22} $0.00 $16.40
04/02/16 MORTGAGE INSURANCE {530.06} $130,070.92 (530,06) ($19,522.28) $0.60 $16.40
05/03/16 MORTGAGE INSURANCE {530.06} 5130,070,92 (530,06) ($19,552.34) $0.00 $16,40
06/03/16 MORTGAGE INSURANCE [$30.06} $130,070.92 ($30.06) ($19,582.40) $0.00 $16.40
07/02/16 MORTGAGE INSURANCE ($30.06) $130,070,92 (530.06) ($19,612.46) $0.00 $16.40
O7/05/1.6 HOMEOWNERS INSURANCE {$1,586.91} $130,070.92 | ($1,586.91) ($21,199.37) $0.00 $16.40
08/03/16 MORTGAGE INSURANCE ($30.06) $130,070.92 (530,06) ($21,225.43) $0.00 $16.40
09/02/16 MORTGAGE INSURANCE (530.06) 5130,070,92 (530.06) ($21,259,49} 50.00 $16.40
09/29/16 COUNTY TAX ($1,256.44} $130,070.92 | ($1,256.44) ($22,515.93} $0.00 $16.40
10/03/16 MORTGAGE INSURANCE (530.06) 5130,070,92 ($30.06) ($22,545,99} $0.00 516.40
11/03/16 MORTGAGE INSURANCE ($30.08) $130,070.92 ($30.06) ($22,576.05} $0.00 516.40
12/02/16 MORTGAGE INSURANCE [$28.45] §130,070.92 ($28.45) ($22,604. 50} $0.00 $16.40
01/08/17 MORTGAGE INSURANCE (928.45) $130,070.92 ($28.45) ($22,632,95) $0.00 $16.40
02/03/17 MORTGAGE INSURANCE 4528.45) $130,070.92 ($28.45) {522,661.40} $0.00 $16.40
02/03/17 MORTGAGE INSURANCE (528.45) §130,070,92 (828.45) (522,689.85) $6.00 $16.40
04/03/17 MORTGAGE |NSURANCE ($28.45) $130,070.92 ($28.45) ($22,718.30) $0.00 $16.40
04/05/17 COUNTY TAX (51,339.62) $130,070.92 | ($1,339.62) ($24,057.92) $0.00 $16.40
05/03/17 MORTGAGE INSURANCE ($28.45) $130,070,92 (828.45} ($24,086.37) 50.00 516.40
06/02/17 MORTGAGE INSURANCE {$28.45) $130,076,92 ($28.45) {$24,114,823} $0.00 $16.40
07/03/17 MORTGAGE INSURANCE ($28.45) $136,070.92 ($28.45) (524,143.27) $0.00 $16.40
07/03/17 HOMEOWNERS INSURANCE {$1,624.01} 5130,070.92 | ($1,824.03) (525,767.28) $0.00 $16,40
08/03/17 MORTGAGE INSURANCE ($28.45) $130,070.92 (828.45} (525,795,73} $0.00 $16.40
09/02/17 MORTGAGE INSURANCE (28,45) §130,070,92 ($28.45) (525,824.18) $6.00 $16.40
10/03/17 MORTGAGE INSURANCE ($28.45) $230,070.92 {528.45} ($25,852,653) $6.00 $18.40
10/13/17 COUNTY TAX ($1,339.63) 5130,070.92 | ($1,339.63) ($27,192,286) §0.00 516.40
11/03/17 MORTGAGE INSURANCE ($28.45) $430,070.92 ($28.45) {$27,220.71} $0.00 $16.40
13/02/17 MORTGAGE INSURANCE ($26.74) $130,070,92 (526.74) {527,247.45} $0.00 $16.40
04/03/18 MORTGAGE INSURANCE ($26. 74} $130,070.92 ($26.74) (527,274.19) $0.00 $16.40
02/02/18 MORTGAGE INSURANCE ($26.74} $130,070.92 (526.74) ($27,300.93) $0.00 $16.40
03/02/18 MORTGAGE }NSURANCE (926.74} $130,070,92 {$26.74} ($27,327.67) $0.00 $16.46
04/03/18 MORTGAGE INSURANCE iS?76.74) $130,070.92 (526,74) (527,354.41) 50.00 516,40
04/09/18 COUNTY TAX ($1,074.17) 5230,070.92 (91,474.17) (928,828,58} $0.00 516.40
O8/03/18 MOATGAGE INSURANCE ($26, 74) $130,070.92 {526.74} ($28,855.32) $0.00 $16.40
06/02/18 [MORTGAGE INSURANCE (526.74) §130,070,92 ($26.74) { $16.40

 

 

 

 

 

 

 

 

Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent

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Bue Post Transaction Principal Escrow Late Late Charge Unapptied
Date Date Transaction Amaunt Principal Interest Balance Escrow Balance Charge fialance Unapplied Balance
foe 06/13/18 LOAN MAINTENANCE $0.06 $2,871.28 $127,199.64 ($28,282.06) $0.60 $16.40

FE 06/13/18 DUE DATE ADJUST $0.00 $127,199.64 ($ 28,882.06} 50.00 516.40

. 06/13/18 ESCROW PAID $5,512.94 $127,199.64 35,512.99 ($23,369.07) $0.00 Si6.a0
07/02/18 HOMEOWNERS INSURANCE ($1,694.33) $127,199.64 | ($1,694.33) (325,063.40) $0.00 $16.40
7/04/18 MORTGAGE INSURANCE ($26.74) $127,199.64 (526,74) ($25,090.14) 50.00 516.40
08/03/18 [MORTGAGE INSURANCE 1826.74) $327,199.64 (826.74} ($25,116.88) $0.00 $16.40
09/03/12 MORTGAGE INSURANCE (526. 74} $127,199.64 (526.74) ($25,143.62) §0.00 516.40
10/03/18 MORTGAGE INSURANCE (926.74) $127,199.64 (526,74) ($25,170,35} $0.00 $16.40
10/42/18 COUNTY TAX {$1,474.18} $127,199.64 | ($1,474.28) ($26,644.54) $0.00 $16.40
11/02/18 MORTGAGE INSURANCE ($26.74) $127,199.64 ($26.74} {$26,671.28} $0.00 $16.40

 

 

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Case 19-42329-BDL Doc 44 Filed 11/13/19 Ent. 11/13/19 15:12:35 Pg. 59 of 59

 

 

 
